Pro Se L5 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

Hand-Delivered

FILED

CHARLOTTE, NC

MAY 18 2021

UNITED STATES DISTRICT-COURT

for the

WESTERN District of NORTH CAROLINA

CHARLOTTE Division

ANDRE ANTONIO DAVIS

Plaintiffs)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an
additional page with the full list of names.)
-V~

ALPHABET
GOOGLE

& SHAREHOLDERS

Defendant(s)
(Write the full name of each defendant who is being sued, If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

Case No.

US District Court
Western District of NC

Zizicv 22 GM

(to be filled in by the Clerk’s Office)

Jury Trial: (check one)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non—Prisoner Complaint)

Yes [| No

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should nof contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s

NOTICE

birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any

other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in

forma pauperis.

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name ANDRE ANTONIO DAVIS plaintiff in pro per
Address P.O BOX 551239
GASTONIA NC 28054
City State Zip Code
County GASTON COUNTY
Telephone Number (980) 251-1605

E-Mail Address

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1
SUNDAR PICHAI

Name
Job or Title (ifknown) CHIEF EXECUTIVE OFFICER
Address 1600 AMPHITHEATRE PARKWAY
MOUNTAIN VIEW CA 94043
City State Zip Code
County SANTA CLARA
Telephone Number 1-650-253-0000

E-Mail Address (if known)

[_] Individual capacity Official capacity

Defendant No. 2

Name ALAN R MULALLY
Job or Title (if known) BOARD MEMBER
Address 1600 AMPHITHEATRE PARKWAY
MOUNTAIN VIEW CA 94043
City State Zip Code
County SANTA CLARA
Telephone Number 1-650-253-0000

E-Mail Address (if known)

[_] Individual capacity [VW] Official capacity

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Defendant No. 3
Name
Job or Title (known)
Address

City State Zip Code
County

Telephone Number
E-Mail Address (if known)

[_] Individual capacity [J Official cancit text here
Defendant No. 4

Name

Job or Title (frown)

Address

City State Zip Code
County

Telephone Number
E-Mail Address (if known)

[_] Individual capacity [VY Official capacity

II. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A, Are you bringing suit against (check all that apply):
M| Federal officials (a Bivens claim)

Mitate or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

VIOLATIONS OF ANTITRUST, CIVIL AND CONSTITUTIONAL RIGHTS

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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TI.

Violations of Civil Constitutional Rights under Bivens Action , 403 U.S. 388 (1971)

N/A

D. Section 1983 allows defendants to be found liable only when they have acted "under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

Statement of Claim
State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the

alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?
NC
B. What date and approximate time did the events giving rise to your claim(s) occur?
Jan 15 2021
C, What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?) Alphabet has been hacking my
Data aiding the Infragard to convert my computer into an Alexis device via their software
and hardware without permission to listen into my home using the screen as live camera and
using the data to track my IP address. Alphabet violated antitrust law national and worldwide
money laundering and kickback scheme subjecting Mr. Davis to domestic terrorisms and
control and to hide their illegal bribes and money laundering campaign to take from the

United States government undermining established Congressional statues and laws of this

‘nation. “Mr. Davis has been attacked by algorithms that was racist, butley by the ALPHBET
Cased NP CQGEEReekcpams a6 Lafnene eens fhe ees nalts? be qnling ta flgw-parass

you on the cellphone, computer and car by satellites. Thérefore Alphabet is liable. Page 4 off 6

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IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

mental anguish, depression, paranoid loss of sleep and other medical concerns.

V. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

Amount excess 40,200,000,000.00 applicable under this courts jurisdiction.

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VI. Certification and Closing
Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: 5/17/2021

Signature of Plaintiff Andre Davie

Printed Name of Plaintiff Andre Antonio Davis
B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State Zip Code
Telephone Number
E-mail Address

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ALPHABET INC & GOOGLE LLC SHAREHOLDERS

Adage Capital Partners GP LLC

Phil Gross PORTFOLIO MANAGER
200 Clarendon Street 52nd Floor
Boston, MA 02116 United States
PHONE: 1-617-867-2800

COUNTY: SUFFOLK COUNTY

Achmea Investment Management BV

ERIK VAN HOUWELINGEN BOARD MEMBER
Trade Route 2 Zeist,

3707 NH Netherlands

PHONE: 31-30-245-3999

Acadian Asset Management LLC
RONALD D FRASHURE CHAIRMAN
260 Franklin Street

Boston, MA 02110 United States
PHONE: 1-617-850-3500

COUNTY: SUFFOLK COUNTY

ACTIAM NV

1

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}

HANS VAN HOUWELINGEN CEO/CCO
Graadt Van Roggenweg

250 Utrecht, 3531 AH

Netherlands

PHONE

31-6-1272-0480

COUNTY: NETHERLANDS

ACT TWO INVESTORS LLC
Jeffrey Scharf FOUNDER

641 ESCALONA DRIVE

SANTA CRUZ CA 95060

Phone 831-246-0035

COUNTY: SANTA CRUZ COUNTY

Advisor Partners LLC

ANDREW RUDD PHD CHAIRMAN & FOUNDER
2175 North California Blvd Suite 400

Walnut Creek, CA 94596 United States

PHONE: 1-888-265-2257

COUNTY: CONTRA COSTA COUNTY

Affiliated Managers Group Inc

DWIGHT D CHURCHILL BOARD MEMBER
600 Hale Street

Prides Crossing, MA 01965 United States
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COUNTY: ESSEX COUNTY

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Aegon Asset Management UK PLC

WILLIAM MERVYN FREW CAREY SHANNNON
3 Lochside Avenue Edinburgh Park

Edinburgh, EH12 9SA United Kingdom

PHONE: 44-131-338-4748

ADVISOR CAPITAL MANAGEMENT LLC
KEVIN KERN FOUNDING PARTNER

10 Wilsey Square, Suite 200

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PHONE: 201-447-3400

COUNTY: BERGEN COUNTY

Alecta Pensionsforsakring Omsesidigt
INGRID BONDE CHAIRMAN
Regeringsgatan 107 Stockholm, 10373 Sweden
PHONE: 46-8-441-6000

ALLEN GREY PROPRIETARY LIMITED
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Allianz Asset Management AG

Dr. Thomas Naumann Chief Financial Officer
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BOARD MEMBER

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ALLIANCEBERNSTEIN LP

SETH PERRY BERNSTEIN PRESIDENT/CEO
1345 Avenue of the Americas

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PHONE: 1-212-969-1000

COUNTY: NEW YORK COUNTY

Alberta Investment Management Corp
MARK D WISEMAN CHAIRMAN
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Edmonton, AB T5J 2B3 Canada

PHONE: 1-780-392-3600

Alpine Woods Capital Investors LLC

ARLEEN BAEZ CHIEF OPERATING OFFICER
2500 Westchester Avenue Suite 215

Purchase, NY 10577 United States

PHONE: 1-646-808-3701

COUNTY: WESTCHESTER COUNTY

Allstate Corp/The

JUDITH A SPRIESER BOARD MEMBER
2775 Sanders Road

Northbrook, IL 60062 United States

PHONE: 1-847-402-5000

COUNTY: COOK COUNTY

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ALPS Advisors Inc

LANTON SPAHR PRESIDENT
1290 Broadway Suite 1100
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COUNTY: Arapahoe County

Amalgamated Bank

ROBERT M WROBEL CHAIRMAN
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PHONE: +1 202-293-9800

COUNTY: NEW YORK COUNTY

AMERICAN CENTURY COMPANIES INC

dba AMERICAN CENTURY INVESTMENT
VICTOR SHENG ZHANG PRESIDENT/CEO

PO Box 419200 Kansas City, MO 64141 United States
PHONE: 1-816-531-5575

COUNTY: Clay, Jackson, and Platte

American Investment Council

KEN MEHLMAN BOARD MEMBER
799 9th Street, Northwest Suite 200
Washington, DC 20001 United States
PHONE: 1-202-465-7700

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COUNTY: NO COUNTIES

American National Insurance Co

Ross Rankin Moody, Chairman of the Board
1 Moody Plaza

Galveston, TX 77550 United States
PHONE: +1 409-763-4661

COUNTY: GALVESTON COUNTY

AMG Funds LLC

JEFFERY T CERITTI CHIEF EXECUTIVE
600 STEAMBOAT RD SUITE 300
GREENWICH, CT 06830 United States
PHONE: 1-610-382-7849

COUNTY: FAIRFIELD COUNTY

Amundi Pioneer Asset Management Inc
DOMENICO AIELLO CHIEF FINANCIAL OFFICER
60 State Street

Boston, MA 02109 United States

PHONE: 1-617-742-7825

COUNTY: SUFFOLK COUNTY

AMERIPRISE FINANCIAL INC

JAMES M CRACCHIOLO CHAIRMAN
55 Ameriprise Financial Center
Minneapolis, MN 55474 United States
PHONE: 1-612-671-3131

COUNTY: HENNEPIN COUNTY

AMERIPRISE FINANCIAL INC

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JAMES M CRACCHIOLO CHAIRMAN AND CEO
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COUNTY: HENNEPIN COUNTY

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COUNTY: LANCASTER COUNTY

AMF Pensionsforsakring AB

MARCUS BLOMBERG ACTING CHIEF INVESMENT OFFICER

Klara Sodra Kyrkogata 18
Stockholm, 113 88 Sweden
PHONE: 46-8-696-3 1-00

AMP Capital Investors Ltd
FRANCESCO DE FERRARI

50 Bridge Street Sydney, NSW 2000
Australia

PHONE: 61-2-9257-8020

Ancient Art LP/Texas
Quincy James Lee CHIEF EXE OFC

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500 West 5th Street Suite 1110
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APG ASSET MANAGEMENT NV

CELINE VAN ASSELT CHIEF FINANCE & RISK OFFICER

Gustav Mahlerplein 3

Amsterdam, 1082 MS Netherlands
PHONE

31-20-604-80-00

APG Asset Management NV
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1082 MS Netherlands

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AQR Capital Management LLC

CLIFFORD SCOTT ASNESS = PRINCIPAL
2 Greenwich Plaza

Greenwich, CT 06830 United States

PHONE: 1-203-742-7500

COUNTY: FAIRFIELD COUNTY

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ARK Investment Management LLC

GENE L NEEDLES JR BOARD MEMBER
3 East 28th Street, 7th Floor

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PHONE: 1-212-426-7040

COUNTY: NEW YORK COUNTY

Armor Advisors LLC

EDEN NANZIA CFO AND COMPLIANCE OFFICER

410 PARK AVENUE SUITE 530
NEW YORK NY 10022

Phone: (646) 873-8501

COUNTY: NEW YORK COUNTY

Arrowstreet Capital, Limited Partnership
ANTHONY RYAN Chief Executive Officer
200 Clarendon St Ste 5700

Boston , MA, 02116-5081

Phone:(617) 919-0000

COUNTY: SUFFOLK COUNTY

Arrow Capital Management Inc

ROBERT PARSONS MANAGING PARTNER
36 Toronto Street Suite 750

Toronto, ON MSC 2C5 Canada

PHONE: 1-416-323-0477

Ar Asset Management Inc

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Anita Rosenstein Chief Executive Officer
9229 SUNSET BOULEVARD SUITE 425
WEST HOLLYWOOD CA 90069
Phone:3 10-859-7644

COUNTY: LOS ANGELES

Arthur M Cohen & Associates
Arthur Cohen OWNER

1033 Skokie Blvd STE 200,
Northbrook, IL 60062

PHONE: : (847) 480-2990
COUNTY: COOK COUNTY

ARTISAN PARTNERS FUNDS INC

James D. Hamel, CFA Portfolio Manager

PO Box 219322

Kansas City, MO 64121-9322

PHONE: 1 800 344 1770

COUNTY: JACKSON, CLAY, PLATTE, CASS COUNTIES

Artisan Partners LP

ANDREW A ZIGLER BOARD MEMBER
875 East Wisconsin Avenue Suite 800
Milwaukee, WI 53202 United States

PHONE: 1-800-399-1770

COUNTY: MILWAUKEE COUNTY

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Ashfield Capital Partners LLC

J STEPHEN LAUCK BOARD MEMBERS
801 Montgomery Street Suite 200

San Francisco, CA 94133 United States
PHONE: 1-415-391-4747

COUNTY: SAN FRANCISCO COUNTY

Atria Investments Lic

LISA FALER DIRECTOR

5925 CARNEGIE BLVD SUITE 500
CHARLOTTE NC 28209

COUNTY: MECKLENBURG

Atlanta Capital Management Co LLC
KELLY WILLAMS PRESIDENT

1075 Peachtree Street Northeast, Suite 2100
Atlanta, GA 30309 United States

PHONE: 1-404-876-9411

COUNTY: FULTON COUNTY

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Atwood & Palmer Inc

STEVEN NELSON PALMER PRESIDENT
4520 Madison Avenue Suite 200

Kansas City, MO 64111 United States

County: Jackson County, but portions spill into Clay, Cass, and Platte counties.

AUTUS Asset Management LLC

MARK ANDREW FIEDLER MANANGING MEMBER
16435 North Scottsdale Road Suite 105

Scottsdale, AZ 85254 United States

PHONE: 1-480-348-1800

COUNTY: MARICOPA COUNTY

Aviva PLC

JAMES McCONVILLE BOARD MEMBER
Saint Helen's | Undershaft

London, EC3P 3DQ United Kingdom

PHONE: 44-20-7283-2000

AXA SA

DENIS DUVERNE BOARD MEMBER
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Paris, 75009 France

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Axiom Investment Management LLC
LIAM FRANCIS DALTON CHAIRMAN
780 3rd Avenue 43rd Floor

New York, NY 10017 United States
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COUNTY: NEW YORK COUNTY

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Badgley Phelps & Bell Inc

JKEVIN CALLAGHAN CHAIRMAN
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Seattle, WA 98101 United States
PHONE: 1-206-623-6172

COUNTY: KING COUNTY

BAILLE GIFFORD FUNDS
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BANK OF AMERICA CORP

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COUNTY: MECKLENBURG

Baird Financial Group

HOMER BAIRD Owner and Principal
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Banco de Sabadell SA

DR. JOSEP OLIU CREUS CHAIRMAN
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Banco Santander SA

ANA BOTIN SANZ D SAUTUOLA Y O SHEA CHAIRMAN

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Banco Bilbao Vizcaya Argentaria SA
CARLOS TORRES VILA CHAIRMAN
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Bank Hapoalim BM

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Bank of New York Mellon/The

Dr Wesley W Von Schack

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240 Greenwich Street

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BANK OF NOVA SCOTIA THE

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BANK OF MONTREAL

DAVID C JACOBSON VICE CHAIRMAN

100 King Street West | First Canadian Place Toronto,
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BARCLAYS BANK PLC

NIGEL HIGGINS CHAIRMAN

1 Churchill Place

London, E14 5HP United Kingdom
PHONE:44-20-7488-1144

BARON CAPITAL INC

Alexander L Umansky FUND MANAGER
767 FIFTH AVENUE 481! FLOOR

NEW YORK NY 10153

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PHONE: 212-583-2000
COUNTY: NEW YORK COUNTY

Barrett & Co

Craig R. Barrett Co-Chairman

42 Weybosset Street

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COUNTY: PROVIDENCE COUNTY

Baupost Group LLC/The

JIM MOONEY PRESIDENT AND PARTNER
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PHONE: 1-617-210-8300

COUNTY: SUFFOLK COUNTY

Baxter Investment Management
William J Baxter Junior

1030 E Putnam Ave

Greenwich , CT, 06830

Phone: (203) 637-4559

COUNTY: FAIRFIELD COUNTY

BBR ALO FUND LLC

STEVEN KASS BOARD MEMBER
C/O BBR PARTNERS, LLC

55 EAST 52ND STREET, 18TH FLOOR

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NEW YORK NY 10055
PHONE: (212) 313-9870
COUNTY : NEW YORK COUNTY

Beck Mack & Oliver LLC

ROBERT J CAMPBELL PARTNER
565 Fifth Avenue 19th Floor

New York, NY 10017 United States
PHONE: 1-212-661-2640

COUNTY: NEW YORK COUNTY

Bessemer Investment Management Inc
GEORGE WILCOX PRESIDENT

45 Rockefeller Plaza #630

New York, NY 10111

Phone: 1-212-708-9184

COUNTY: NEW YORK COUNTY

BILL AND MELINDA GATES FOUNDATION
BILL GATES TRUSTEE

500 5TH AVE NORTH.

SEATTLE WA 98109

Business Phone: 206-709-3100

COUNTY: KING COUNTY

BILL AND MELINDA GATES FOUNDATION
MELINDA GATES

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500 STH AVE NORTH

SEATTLE WA 98109

Business Phone: 206-709-3100
COUNTY: KING COUNTY

BILL AND MELINDA GATES FOUNDATION
WARREN BUFFET

500 5TH AVE NORTH

SEATTLE WA 98109

Business Phone: 206-709-3100

COUNTY: KING COUNTY

Birch Hill Investment Advisors LLC
GARY MIKULA PRESIDENT

24 Federal Street 10th Floor

Boston, MA 02110 United States
PHONE: 1-617-502-8300

COUNTY: SUFFOLK COUNTY

ROBERT STEVEN KAPITO PRESIDENT
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Laurence D Fink

55 EAST 52ND STREET
New York , NY, 10055-0002
United States

Phone: (212) 810-5300
County: New York County

BLACKROCK INC

LAURENCE DOUGLAS FINK CHAIRMAN/CEO/CO-FOUNDER
55 East 52nd Street

New York, NY 10055 United States

PHONE

1-212-810-5300

COUNTY: NEW YORK COUNTY

Ultimate parent company AMERICAN INTERNATIONAL GROUP INC
Subsidiary SUNAMERICA INC

BRIAN DUPERREAULT CHAIRMAN

175 Water St

NEW YORK, NY 10038 United States

PHONE: 1-347-493-2228

COUNTY: NEW YORK COUNTY

Bloom Tree Partners LLC
ALOK AGRAWAL = CEO
101 Park Avenue

New York, NY 10178 United States
PHONE: 1-212-716-2614
COUNTY: NEW YORK COUNTY

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Bloombergsen Inc

LAWRENCE S BLOOMBERG CHAIRMAN AND CO FOUNDER
TD North Tower, Financial Dist 77 King Street West, Ste 4220
Toronto, ON MS5K 1H1 Canada

PHONE: 1-416-594-9090

Blue Pool Capital Ltd

OLIVER WEISBURG CHIEF EXECUTIVE OFFICER
Room 3208, 2 Exchange Square Central

Hong Kong (SAR)

PHONE: 852-2825-9000

BNY MELLON

THOMAS P GIBBONS CHIEF EXECUTIVE OFFICER
240 Greenwich Street

New York, NY 10286

PHONE: | 212 495 1784

COUNTY: NEW YORK COUNTY

BNP Paribas Asset Management Holding SA
FREDERIC JANBON CEO

1 Blvd Haussman Paris, 75009 France
PHONE: 33-1-58-97-25-25

Boston Financial Management LLC
MIKE BROWN CEO

1 Winthrop Square

Boston, MA 02110 United States

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The representation, omission, or practice must mislead or be likely to mislead the
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under the circumstances. .............sssssesereereenened

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Andre Antonio Davis
P.O. Box 551329
GASTONIA, NC 28054
Plaintiff in Pro Per

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA

Andre Antonio Davis ) Case No:
)
Plaintiff )
vs. ) COMPLAINT FOR VIOLATION
ALPHABET ) OF
GOOGLE LLC ) CIVIL AND CONSTITUTIONAL
& )
) RIGHTS
Shareholders )
) DEMAND FOR JURY TRIAL
Defendant
JURISDICTION

1. This is a civil action brought for violations First, Second, Fourth ,Fifth, Ninth,
Thirteenth and Fourteenth Amendments to the United States Constitution Section 15 U.S.C.

Section 45 (a) 1 Section(s)1,2, and 15 .. The jurisdiction of this Court is founded upon Sections

28 U.S. C. 1331, 1332 (a), (1), 1391 and Sections 1651, 2201 and 2202. See[1][2][3][4][5]
[1] Burger King Corp v. Ridzewicz 417 U. S. 462 (1985)
[2] International Shoe Co. v. Washington, 326 U. S. 310 (1945) [3] McGee v. International

Life Insurance Co. 355 U. S. 220 (1957)

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[4] Perkins v. Benguet Mining Co., 342 U. S. 437 (1952).
[5] Willis v. Willis, 776 S.E. 2d 364.
PARTIES

2. Atall relevant times, Plaintiff was a citizen of the United States and a Honorable
discharged Veteran that served in the U. S. Marine Corps. during the Gulf War Era and resident

of Gastonia, North Carolina.

3. The Defendant(s) GOOGLE LLC. and Shareholders is a worldwide tech and software

company operating in the State of North Carolina.
4. Defendants Executive Officer are Sundar Pichai Alan R Mulally and shareholders
FACTS

5. The Defendant. and Shareholders is liable for breach of contract, discrimination, fraud,
false imprisonment, harassment by algorithm, and conspiring with a company called Infragard
conspiring to receive bribes and kickbacks and money laundering when both companies colluded
in tracking Mr. Davis on his computer and assisting Infragard in investigation against including
hacking home computer in order to gather monitor and reconfigure software to aide Infragard to
in the tracking of Mr. Davis using its software and Google Maps to pinpoint Mr. Davis location in
his vehicle and to give the advantage to agents to be setup prior to going to this locations using
Google Maps . Google software is used to track Mr. Davis location on the net event when he
brought a expense VPN to hide his location Google hack the location and was able to track via
their software. Google used frequent racist algorithms and bullying algorithms to mentally and

psychological induce a person to feel a certain way emotionally. Holding Mr. Davis in a virtual

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Holding Mr. Davis in a virtual reality electronic prison a technology prison of control and
manipulation and other deprivations of the mental for the gaslighting used constantly tracking
Mr. Davis ip address and the data within and sharing amounts Infragard agents others in a
worldwide money laundering stealing from the US treasury and illegal monitoring and
imprisonment and Microsoft and shareholders was the main hub to the cartel spokes that made this
illegal operation operational.24 hours a day seven days a week. LK GOOGLE LLC is liable of

violation of Mr. Davis civil and constitutional rights.

6. At all times, relevant and material to this complaint, all the Defendants were acting under

the color of state law.

FIRST CAUSE OF ACTION
(Breach of Contract)

7. Plaintiff reallege and incorporate by reference all of the preceding paragraphs

8. Defendant intended to commit breach of contract. [1][2][3] Breach of Contract is a
legal cause of action and a type of civil wrong, in which a binding agreement or bargained-for
exchange is not honored by one or more of the parties to the contract by non-performance or
interference with the other party's performance. Breach occurs when a party to a contract fails to
fulfill its obligation(s), whether partially or wholly, as described in the contract, or communicates
an intent to fail the obligation or otherwise appears not to be able to perform its obligation under
the contract. Where there is breach of contract, the resulting damages will have to be paid by the
party breaching the contract to the aggrieved party. Defendant GOOGLE LLC. and Shareholders
breach of contract was intentionally tracking on Mr. Davis IP on the computer and within the

cellphone in order to conduct a search and to share that information with thousands of other to

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surround Mr. Davis and assault and harass him by gaslighting resulting in damages and injury.

Therefore, defendants GOOGLE LLC and Shareholders is liable for breach of contract.

[1] Hadley v Baxendale [1854] EWHC J70 [2] Hawkins v. McGee, 84 N.H. 114, 146 A. 641

(N.H. 1929)
[3] Lucy v. Zehmer, 196 Va. 493; 84 S.E.2d 516 (1954).

9. Defendant owe damages in an amount greater than 75,000 for plaintiffinjury. Defendants

are liable for damages.

10. Defendants GOOGLE LLC. and Shareholders to commit valid contract. Valid contract is
a written or expressed agreement between two parties to provide a product or service.
Defendants GOOGLE LLC. and Shareholders valid contract was Mr. Davis paid to use Google
program in a responsible manner and Google promised to provide a service in which they
reneged on their end of the contract which is a violation of the agreement that caused damages
and injury to Mr. Davis. Therefore, defendant GOOGLE LLC. and Shareholders is liable for

valid contract.

11. Defendant owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

12. Defendants GOOGLE LLC and Shareholders intended to commit a breach. A breach is
failure to perform a contract (breaking its terms). Defendants GOOGLE LLC and Shareholders
breach was using its google software as a spyware and a transponder to aid in a illegal
investigation against Davis that caused damage and injury to Mr. Davis. Therefore, defendants

GOOGLE LLC and Shareholders is liable of a breach.

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13. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

14. Defendants GOOGLE LLC and Shareholders intended to commit proximate cause.
Proximate cause is legal cause,” or one that the law recognizes as the primary cause of the injury.
Defendants GOOGLE LLC and Shareholders proximate cause was to intentional manipulate data
to be used to track and triangulate Mr. Davis location and using the data to share amongst
persons without Mr. Davis constant causing damages to Mr. Davis and injury. Therefore,

defendants Microsoft Inc. and Shareholders is liable of proximate cause.

15. Damages owe damages in an amount greater than 75,000 for plaintiff mjury.

Defendants are liable for damages.

16. Defendants GOOGLE LLC and Shareholders intended to commit a damages. Damages
is Damages refers to the sum of money the law imposes for a breach of some duty or violation
of some right. Compensatory damages, like the name suggests, are intended to compensate the
injured party for loss or injury. Defendants damages was breaching the contract terms and use
of its Google Maps and Google browers to that was a violation of Mr. Davis rights and that
caused damages and injury to Mr. Davis. Therefore, defendants GOOGLE LLC. and

Shareholders is liable for damages.

17. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

SECOND CAUSE OF ACTION
(Violation of the Federal Trade Commission Act)
(USC 15 Section 45)
(Section 5)

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18. Plaintiff reallege and incorporate by reference all of the preceding paragraphs

19. Defendants GOOGLE LLC and Shareholders intended to commit Violation of the

Federal Trade Commission Act. See [1][2][3][4][S][6][7] Violation of the Federal Trade

Commission Act Section 5(a) of the Federal Trade Commission Act (FTC Act) (15 USC §45)
prohibits “unfair or deceptive acts or practices in or affecting commerce.” This prohibition
applies to all persons engaged in commerce, including banks. The legal standards for unfairness
and deception are independent of each other. Defendants GOOGLE LLC and Shareholders
Violation of the Federal Trade Act was to perform unfair or deceptive acts of giving away Mr.
Davis information usage and location while using the Google software and aiding Infragard to
inflict damages and injury to Mr. Davis. Therefore, defendants GOOGLE LLC and Shareholders

is liable for Violation of the Federal Trade Commission Act.

[1] United States v. National Lead Co. 332 U.S. 319 (1947)

[2] Flast v. Cohen 392 U. S. 83 (1968)

[3] Assocation of Data Processing Service Organizations, Inc v. Cam 397 U. S. 150 (1970)
[4] Barlow v. Collins, 397 U. S. 159 (1970)

[5] Herpich v. Wallace, 430 F. 2 d 792 (Sth Cir. 1970)

[6] Texas & Pacific Railway Co. v. Ringsby 241 U.S. 33 (1916)

[7] Reitmeister v. Reitmeister 162 F. 691, 694 (2d Cir. 1947)

[8] United States v. Jones, 565 U.S. 400 (2012)

20. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

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21. Defendants GOOGLE LLC. and Shareholders intended to commit the representation,
omission, or practice must mislead or be likely to mislead the consumer. The representation,
omission, or practice must mislead or be likely to mislead the consumer is A misrepresentation is
an express or implied statement contrary to fact. A misleading omission occurs when qualifying
information necessary to prevent a practice, claim, representation, or reasonable expectation or
belief from being misleading is not disclosed. Defendants the representation, omission, or
practice must mislead was Mr. Davis was lead to believe that Google was not taking your
information and using it for an illegal means is totally untrue and it mislead Mr. Davis and
omitted its true intentions. Therefore, defendants GOOGLE LLC and Shareholders is liable of

the representation, omission, or practice must mislead or be likely to mislead the consumer.

22. Damages owe damages in an amount greater than 75,000 for plaintiff injury. Defendants

are liable for damages.

23. Defendants GOOGLE LLC and Shareholders intended to commit the consumer’s
interpretation of the representation, omission, or practice must be reasonable under the
circumstances. The consumer’s interpretation of the representation, omission, or practice must be
reasonable under the circumstances is The test is whether the consumer's expectations or
interpretation are reasonable in light of the claims made. Defendants GOOGLE LLC and
Shareholders omission is reasonable that it is a legal wrong to misrepresent customers outside of
what was promised and Google did so by using its software as spy wear instead of a browers and
a map locator that resulte in injury and damages to Mr. Davis. Therefore, GOOGLE LLC. and
Shareholders is liable of The consumer’s interpretation of the representation, omission, or

practice must be reasonable under the circumstances.

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24. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

25. Defendants GOOGLE LLC and Shareholders intended to commit The misleading
representation, omission, or practice must be material. The misleading representation, omission,
or practice must be material is one for deception to occur which is likely to affect a consumer's
choice of or conduct regarding a product. In other words, it is information that is important to
consumers. Defendants GOOGLE LLC. and Shareholders The misleading representation,
omission, or practice must be material was material it was how false and convincing that you
believe you was buying a browers and using a map for directions and omitted that it was
watching you and tracking you to and sharing that information with other parties. Therefore,
defendants GOOGLE LLC and Shareholders is liable of the misleading representation,

omission, or practice must be material.

26. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

THIRD CAUSE OF ACTION
(Violation of Clayton Act 4)

27. Plaintiff reallege and incorporate by reference all of the preceding paragraphs

28. Defendants GOOGLE LLC and Shareholders intended to commit Violation of
Clayton Act 4[1][2][3]. Violation of Clayton Act 4 is a piece of legislation passed by the U.S.
Congress in 1914. The act defines unethical business practices, such as price-fixing and
monopolies, and upholds various rights of labor. Defendants GOOGLE LLC. and Shareholders
Violation of the Clayton Act 4 was the illegal formation or attempted illegal formation of a
monoply in order to get kickbacks and bribes with government contractor Infragard and other

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well known companies running a cartel styled operation to undermine and steal from the US
Treasure is illegal and resulted in Mr. Davis damages and injury. Therefore, defendants

Microsoft Inc. and Shareholders Violation of the Clayton Act 4.
[1] Standard Oil Co. of California v. United States, 337 U.S. 293 (1949)
[2] United States v. AT&T 552 F. Supp. 131 (D. D. C 1982)

[3] United States v. American Tobacco Company, 221 U. S. 106 (1911).

29. Defendants owe trebles damages three times the amount for plaintiff injury. Defendants

are liable for damages.

FOURTH CAUSE OF ACTION
(Violation of Clayton Act 7)

30. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

31. Defendants GOOGLE LLC and Shareholders intended to commit Violation of Clayton
Act 7. See [1][2][3] Violation of Clayton Act 7 is prohibits mergers and acquisitions where the
effect "may be substantially to lessen competition, or to tend to create a monopoly." As amended
by the Robinson-Patman Act of 1936, the Clayton Act also bans certain discriminatory prices,
services, and allowances in dealings between merchants. Defendants GOOGLE LLC and
Shareholders Violation of the Clayton Act 7 was Microsoft and Shareholders to strategized a
monumental illegal effort and to coordinated with businesses intrastate, interstate, and
worldwide to form monopolies undermining US commerce take from Mr. Davis and the US
government resulted in damages and Mr. Davis injury. Therefore, defendants GOOGLE LLC

and Shareholders is liable of Violation of Clayton Act 7.

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[1] United States v. Philadelphia National Bank, 374 U.S. 321 (1963)

[2] United States v. Von's Grocery Co., 384 U.S. 270 (1966)

[3] Philadelphia Electric Co. v. Anaconda American Brass Co., 47 F.R.D. 557 (E.D.Pa. 1969)

32. Defendants owe trebles for three times the amount for plaintiff injury. Defendants are

liable for damages

FIFTH CAUSE OF ACTION
(Violation of the Clayton Act 16)

33. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

34. Defendant Microsoft Inc. and Shareholders intended to commit Violation of Clayton Act
Violation of the Clayton Act 16 is 5 U.S.C.S. § 26, authorizes "any person, firm, corporation, or
_ association" to seek injunctive relief against threatened loss or damage by a violation of the
antitrust laws. ... The Federal Trade Commission may seek a temporary injunction under the All
Writs Act, 28 U.S.C.S. Defendants GOOGLE LLC and Shareholders Violation of the Clayton
Act 16 was to owe Mr. Davis injunctive relief for loss or damage by the violation of antitrust
laws for intentional restraint of commerce and unfair trade practices violation of civil rights from
the unfair treatment Mr. Davis was subjected to antitrust violation and received loss due to
Google illegal use and unfair practices resulting in injury and damages to Mr. Davis. Therefore,

defendants GOOGLE LLC and Shareholders is liable for Violation of the Clayton Act 16.

35. Damages owe trebles for three times the amount for plaintiff injury. Defendants are

liable for damages.

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SIXTH CAUSE OF ACTION

(Elements of the Offense Section 1 of the Sherman Act 15 U.S.C, Section 1)
36. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

37. Defendants GOOGLE LLC. and Shareholders intended to commit Elements of the
Offense Section 1 of the Sherman Act 15 U.S.C. Section 1. Elements of the Offense Section | of
the Sherman Act 15 U.S.C. Section 1 is Every contract, combination in the form of trust or
otherwise, or conspiracy, in restraint of trade or commerce among the several States, or with

foreign nations, is declared to be illegal
Including:

To establish a criminal violation of Section 1 of the Sherman Act (15 U.S.C. § 1), the

government must prove three essential elements:

A. The charged conspiracy was knowingly formed and was in existence at or about the time

alleged;
B. The defendant knowingly joined the charged conspiracy; and

C. The charged conspiracy either substantially affected interstate or foreign commerce or

occurred within the flow of interstate or foreign commerce.

Defendants GOOGLE LLC and Shareholders Elements of the Offense Section 1 of the Sherman

Act U.S.C. Section | was a (A) knowing joined and charged conspiracy was which both The

Infragard and other companies and a high tech matrix colluded to restrain commerce by using
“their software program as a spy tool cause mental and psychological (B) both knowingly joined

the charged conspiracy to receive kickback money and money laundering worldwide operation

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(C). The charged conspiracy either substantially affected intrastate, interstate and foreign
commerce or occurred within the flow of interstate or foreign commerce was an affective tool for
interfering with commerce and it prejudice customers and harass them not allowing freedoms
and enjoyments within commerce resulted in damages and Mr. Davis injury . Therefore,
defendants GOOGLE LLC and Shareholders is liable for Elements of the Offense Section | of

the Sherman Act 15 U.S.C. Section 1.

38. Defendants owe trebles for three times the amount for plaintiff injury. Defendants are

liable for damages.

SEVENTH CAUSE OF ACTION
(Violation of the Sherman Act 1)

39. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

40. Defendants GOOGLE LLC and Shareholders intended to commit Violation of the
Sherman Act I. See [1] Violation of the Sherman Act I is Only “unreasonable” restraint of trade
through acquisitions, mergers, exclusionary tactics, and predatory pricing constitute a violation
of the Sherman Act. This interpretation allowed large firms considerably more latitude.
Defendant GOOGLE LLC was the illegal mergers of many companies on the horizontal
worldwide in a cartel mafia with vast diverse personnel and businesses even government in
which they hide the money in cryto currencies and other ways to clean the illegal money
laundering money that resulted in Mr. Davis damages and injury. Therefore, defendants

GOOGLE LLC and Shareholders is liable for Violation of the Sherman Act I.

[1] United States v. AT&T 552 F. Supp. 131 (D. D.C 1982.

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41. Defendants owe trebles for three times the amount for plaintiff injury. Defendants are

liable for damages.

EIGHTH CAUSE OF ACTION
(Violation of the Sherman Act ID)

42. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

43. Defendants GOOGLE LLC and Shareholders intended to commit Violation of the
Sherman Act II. See [1][2] Violation of the Sherman Act II makes it illegal to “monopolize, or
attempt to monopolize, or combine or conspire with any other person or persons, to monopolize
any part of the trade or commerce among the several States, or with foreign nations.” The text
of this prohibition has not changed since it was enacted in 1890. Defendants GOOGLE LLC and
Shareholders Violation of the Sherman Act was the illegal formation via its software program in
which many companies use including the Infragard and Microsoft and many others businesses is
linked into GOOGLE already so just attaching the tracker to the IP makes it easier to be follow
by other persons already link in because GOOGLE is used worldwide and this advantage was
use to trap and harass and gaslight a extreme form of harassment was used to attack and know
where Mr. Davis was going even before he arrived do to google maps remotely showing agents
premeditatedly to be ready to attack and stalk to receive kickbacks, bribes and money laundering
around the world carried by satellite wire, radio, digital cloud commercial airlines and satellites
to persons and offshore accounts and wireless payments across the country all held up by
GOOGLES popular software which has monopolized the world resulted in damages and injury
to Mr. Davis. Therefore, defendants GOOGLE LLC and Shareholders is liable of Violation of

the Sherman Act II.

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[1] Verizon v. Trinko, 540 U.S. 398 (2004)
[2] Standard Oil Co. of New Jersey v. United States, 221 U.S. 1 (1911)

Standard Oil was dismantled into geographical entities given its size, and that it was too much of

a monoply.

44. Defendants owe trebles for three times the amount for plaintiff injury. Defendants are

liable for damages.

NINTH CAUSE OF ACTION
( Violation of the Travel Act 18 U. S. C. Section 1952)

45. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

46. Defendants GOOGLE LLC and Shareholders intended to commit Travel Act. See
[1][2][3] Travel Act is one of several federal laws that criminalize business activities that are
illegal at the state level. Specifically, the Travel Act makes it a federal offense to travel from
state to state (or internationally) with the intent to promote or facilitate an unlawful activity

including other elements including:

1)

A. travels in interstate or foreign commerce, or

B. uses any facility in interstate or foreign commerce, or

C. uses the mail

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2. with intent:

A. to distribute the proceeds of an unlawful activity, i-e., i. any business enterprise involving
unlawful activities gambling, moonshining, drug dealing, or prostitution; or ii. extortion, bribery,

or arson; or iii. any act which is indictable as money laundering; or

B. commit an act of violence to further an unlawful activity; or

C. to otherwise

i. promote,

il. manage,

iii. establish,

iv. carry on, or

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v. facilitate the promotion, management, establishment, or carrying on

any unlawful activity; and

3. thereafter

A. distributes or attempts to distribute such proceeds, or

B. commits or attempts to commit such act of violence, or

C. promotes, manages, establishes, carries on, or facilitates the promotion, management,

establishment, or carrying on such unlawful activities or attempts to do so.

Defendants GOOGLE LLC and Shareholders violation of the Travel Act was taking and
violating Mr. Davis privacy and sharing and tracking his Ip across interstate and worldwide lines.
Therefore, defendants GOOGLE LLC and Shareholders is liable for the Violation of the Travel

Act.
[1] United States v. Pomponio 511 F.2d 953 (4th Cir. 1975)
[2] Perrin v. United States, 444 U.S. 37 (1979)

[3] United States v. Nardello, 393 U. S. 286

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47. Defendant owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are

liable for damages.

TENTH CAUSE OF ACTION

(Violation of the Necessary and Proper Clause)
48. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

49. Defendants Microsoft Inc. and Shareholders intended to commit Violation of the
Necessary and Proper Clause. See [1] Violation of the Necessary and Proper Clause is The
Congress shall have Power. To make all Laws which shall be necessary and proper for carrying
into Execution the foregoing Powers, and all other Powers vested by this Constitution in the
Government of the United States, or in any Department or Officer thereof. Defendant
GOOGLE LLC and Shareholders used its position and large influence due to the companies
creating software to increase productions in a wide area of many industry used that position to
undermine congreassional powers and statues made by congress to make their own laws and
violate the rights of others resulted in damages and Mr. Davis injury. Therefore, defendants

GOOGLE LLC and Shareholders is liable of Violation of the Necessary and Proper Clause.
[1] McCulloch v. Maryland (1819)

50. Defendants owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are

liable for damages.

ELEVENTH CAUSE OF ACTION

(Violation of Congress Enumerated Powers of the Federal Constitution)

( Article I, Section 8 of the United States Constitution)

51. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

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52. Defendants GOOGLE LLC. and Shareholders intended to commit Violation of Congress
Enumerated Powers of the Federal Constitution. See [1] Violation of Congress Enumerated
Powers of the Federal Constitution is the enumerated powers (also called expressed powers,
explicit powers or delegated powers) of the United States Congress are the powers granted to the
federal government of the United States. Most of these powers are listed in Article I, Section 8 of

the United States Constitution and is:

1) The Congress shall have Power To lay and collect Taxes, Duties, Imposts and Excises, to
pay the Debts and provide for the common Defense and general Welfare of the United States; but

all Duties, Imposts and Excises shall be uniform throughout the United States;

2) To borrow on the credit of the United States,

3) To regulate Commerce with foreign Nations, and among the several States, and with the

Indian Tribes;

4) To establish a uniform Rule of Naturalization, and uniform Laws on the subject of

Bankruptcies throughout the United States,

5) To coin Money, regulate the Value thereof, and of foreign Coin, and fix the Standard of

Weights and Measures;

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6) To provide for the Punishment of counterfeiting the Securities and current Coin of the

United States;

7) To establish Post Offices and Post Roads;

8) To promote the Progress of Science and useful Arts, by securing for limited Times to

Authors and Inventors the exclusive Right to their respective Writings and Discoveries,

9) To constitute Tribunals inferior to the supreme Court;

10) To define and punish Piracies and Felonies committed on the high Seas, and Offenses

against the Law of Nations;

11) To declare War, grant Letters of Marque and Reprisal, and make Rules concerning

Captures on Land and Water;

12) To raise and support Armies, but no Appropriation of Money to that Use shall be for a

longer Term than two Years;

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13) To provide and maintain a Navy;

14) To make Rules for the Government and Regulation of the land and naval Forces;

15) To provide for calling forth the Militia to execute the Laws of the Union, suppress

Insurrections and repel Invasions;

16) To provide for organizing, arming, and disciplining, the Militia, and for governing such
Part of them as may be employed in the Service of the United States, reserving to the States
respectively, the Appointment of the Officers, and the Authority of training the Militia according

to the discipline prescribed by Congress;

17) To exercise exclusive Legislation in all Cases whatsoever, over such District (not
exceeding ten Miles square) as may, by Cession of particular States, and the acceptance of
Congress, become the Seat of the Government of the United States, and to exercise like
Authority over all Places purchased by the Consent of the Legislature of the State in which the
Same shall be, for the Erection of Forts, Magazines, Arsenals, dock-Yards, and other needful

Buildings; And

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18) To make all Laws which shall be necessary and proper for carrying into Execution the
foregoing Powers, and all other Powers vested by this Constitution in the Government of the

United States, or in any Department or Officer thereof.

Defendants violation rule(1), (2) and (18) carry out Powers vested by the Constitution and
knowingly participating in bribery and kickbacks and money making rules and laws undermining
Powers of the Constitution and the rule making of Congress laundering money and not paying
taxes on such monies while violating Mr. Davis rights regulating its own quasi-commerce
operation resulted in damage and injury to Mr. Davis. Therefore, defendant Microsoft Inc. and

Shareholders is liable of Violation of Congress Enumerated Powers of the Federal Constitution.
[1] Gibbons v. Ogden (1824).

53. Defendants owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are

liable for damages.

TWELFTH CAUSE OF ACTION
(Violation of the Commerce Clause Article I, Section 8, Clause 3)

54. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

55. Defendants GOOGLE LLC and Shareholders intended to commit Violation of the
Commerce Clause. Violation of the Commerce Clause is Constitution that empowers Congress
to regulate interstate commerce and commerce with foreign countries and that forms the
constitutional basis for much federal regulation and to violate it violate the empowered position
of Congress whom regulate it. [1] Defendants GOOGLE LLC and Shareholders Violation of
the Commerce Clause was the undermining and taking over the empowered position of Congress

to make laws was a total violation of the law resulted in damage and injury to Mr. Davis.

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Therefore, defendants GOOGLE LLC and Shareholders liable of Violation of the Commerce

Clause.
[1] Wickard v. Filburn, 317 U.S. 111 (1942).

56. Defendants owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are

liable for damages.

THIRTEENTH CAUSE OF ACTION

( Laundering of monetary instruments 18 U.S.C 1956)
57. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

58. Defendants GOOGLE LLC and Shareholders intended to commit laundering of
monetary instruments. Laundering of monetary instruments is
(a)

(1) Whoever, knowing that the property involved in a financial transaction represents the
proceeds of some form of unlawful activity, conducts or attempts to conduct such a financial

transaction which in fact involves the proceeds of specified unlawful activity—
(A)
(i) with the intent to promote the carrying on of specified unlawful activity; or

(ii) with intent to engage in conduct constituting a violation of section 7201 or 7206 of the

Internal Revenue Code of 1986; or
(B) knowing that the transaction is designed in whole or in part—

(i) to conceal or disguise the nature, the location, the source, the ownership, or the control of the
proceeds of specified unlawful activity; or

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(ii) to avoid a transaction reporting requirement under State or Federal law,

shall be sentenced to a fine of not more than $500,000 or twice the value of the property
involved in the transaction, whichever is greater, or imprisonment for not more than twenty
years, or both. For purposes of this paragraph, a financial transaction shall be considered to be
one involving the proceeds of specified unlawful activity if it is part of a set of parallel or
dependent transactions, any one of which involves the proceeds of specified unlawful activity,

and all of which are part of a single plan or arrangement.

(2) Whoever transports, transmits, or transfers, or attempts to transport, transmit, or transfer a
monetary instrument or funds from a place in the United States to or through a place outside the
United States or to a place in the United States from or through a place outside the United

States—
(A) with the intent to promote the carrying on of specified unlawful activity; or

(B) knowing that the monetary instrument or funds involved in the transportation, transmission,
or transfer represent the proceeds of some form of unlawful activity and knowing that such

transportation, transmission, or transfer is designed in whole or in part—

(i) to conceal or disguise the nature, the location, the source, the ownership, or the control of the

proceeds of specified unlawful activity; or
(ii) to avoid a transaction reporting requirement under State or Federal law,

shall be sentenced to a fine of not more than $500,000 or twice the value of the monetary
instrument or funds involved in the transportation, transmission, or transfer, whichever is greater,

or imprisonment for not more than twenty years, or both. For the purpose of the offense

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described in subparagraph (B), the defendant’s knowledge may be established by proof that a
law enforcement officer represented the matter specified in subparagraph (B) as true, and the
defendant’s subsequent statements or actions indicate that the defendant believed such

representations to be true.
(3) Whoever, with the intent—
(A) to promote the carrying on of specified unlawful activity;

(B) to conceal or disguise the nature, location, source, ownership, or control of property believed

to be the proceeds of specified unlawful activity; or
(C) to avoid a transaction reporting requirement under State or Federal law,

conducts or attempts to conduct a financial transaction involving property represented to be the
proceeds of specified unlawful activity, or property used to conduct or facilitate specified
unlawful activity, shall be fined under this title or imprisoned for not more than 20 years, or both.
For purposes of this paragraph and paragraph (2), the term “represented” means any
representation made by a law enforcement officer or by another person at the direction of, or
with the approval of, a Federal official authorized to investigate or prosecute violations of this

section.
(b) Penalties. —

(1) In general—Whoever conducts or attempts to conduct a transaction described in subsection
(a)(1) or (a)(3), or section 1957, or a transportation, transmission, or transfer described in
subsection (a)(2), is liable to the United States for a civil penalty of not more than the greater

of—

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(A) the value of the property, funds, or monetary instruments involved in the transaction; or
(B) $10,000.

(2) Jurisdiction over foreign persons.—For purposes of adjudicating an action filed or enforcing
a penalty ordered under this section, the district courts shall have jurisdiction over any foreign
person, including any financial institution authorized under the laws of a foreign country, against
whom the action is brought, if service of process upon the foreign person is made under the
Federal Rules of Civil Procedure or the laws of the country in which the foreign person is found,

and—

(A) the foreign person commits an offense under subsection (a) involving a financial transaction

that occurs in whole or in part in the United States;

(B) the foreign person converts, to his or her own use, property in which the United States has an
ownership interest by virtue of the entry of an order of forfeiture by a court of the United States;

or

(C) the foreign person is a financial institution that maintains a bank account at a financial

institution in the United States.
(3) Court authority over assets.—

A court may issue a pretrial restraining order or take any other action necessary to ensure that
any bank account or other property held by the defendant in the United States is available to

satisfy a judgment under this section.
(4) Federal receiver.—

(A) In general.—

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A court may appoint a Federal Receiver, in accordance with subparagraph (B) of this paragraph,
to collect, marshal, and take custody, control, and possession of all assets of the defendant,
wherever located, to satisfy a civil judgment under this subsection, a forfeiture judgment under
section 981 or 982, or a criminal sentence under section 1957 or subsection (a) of this section,

including an order of restitution to any victim of a specified unlawful activity.
(B) Appointment and authority —A Federal Receiver described in subparagraph (A)—

(i) may be appointed upon application of a Federal prosecutor or a Federal or State regulator, by

the court having jurisdiction over the defendant in the case;

(ii) shall be an officer of the court, and the powers of the Federal Receiver shall include the

powers set out in section 754 of title 28, United States Code; and

(iii) shall have standing equivalent to that of a Federal prosecutor for the purpose of submitting

requests to obtain information regarding the assets of the defendant—
(I) from the Financial Crimes Enforcement Network of the Department of the Treasury; or

(11) from a foreign country pursuant to a mutual legal assistance treaty, multilateral agreement, or
other arrangement for international law enforcement assistance, provided that such requests are

in accordance with the policies and procedures of the Attorney General.
(c) As used in this section—

(1) the term “knowing that the property involved in a financial transaction represents the
proceeds of some form of unlawful activity” means that the person knew the property involved

in the transaction represented proceeds from some form, though not necessarily which form, of

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activity that constitutes a felony under State, Federal, or foreign law, regardless of whether or not

such activity is specified in paragraph (7);

(2) the term “conducts” includes initiating, concluding, or participating in initiating, or

concluding a transaction;

(3) the term “transaction” includes a purchase, sale, loan, pledge, gift, transfer, delivery, or other
disposition, and with respect to a financial institution includes a deposit, withdrawal, transfer
between accounts, exchange of currency, loan, extension of credit, purchase or sale of any stock,
bond, certificate of deposit, or other monetary instrument, use of a safe deposit box, or any other
payment, transfer, or delivery by, through, or to a financial institution, by whatever means

effected;

(4) the term “financial transaction” means (A) a transaction which in any way or degree affects
interstate or foreign commerce (i) involving the movement of funds by wire or other means or
(ii) involving one or more monetary instruments, or (iii) involving the transfer of title to any real
property, vehicle, vessel, or aircraft, or (B) a transaction involving the use of a financial
institution which is engaged in, or the activities of which affect, interstate or foreign commerce

in any way or degree;

(5) the term “monetary instruments” means (i) coin or currency of the United States or of any
other country, travelers’ checks, personal checks, bank checks, and money orders, or (ti)
investment securities or negotiable instruments, in bearer form or otherwise in such form that

title thereto passes upon delivery;

(6) the term “financial institution” includes—

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(A) any financial institution, as defined in section 5312(a)(2) of title 31, United States Code, or

the regulations promulgated thereunder; and

(B) any foreign bank, as defined in section 1 of the International Banking Act of 1978 (12 U.S.C.

3101);
(7) the term “specified unlawful activity” means—

(A) any act or activity constituting an offense listed in section 1961(1) of this title except an act

which is indictable under subchapter II of chapter 53 of title 31;

(B) with respect to a financial transaction occurring in whole or in part in the United States, an

offense against a foreign nation involving—

(i) the manufacture, importation, sale, or distribution of a controlled substance (as such term is

defined for the purposes of the Controlled Substances Act);

(ii) murder, kidnapping, robbery, extortion, destruction of property by means of explosive or fire,

or a crime of violence (as defined in section 16);

(iii) fraud, or any scheme or attempt to defraud, by or against a foreign bank (as defined in

paragraph 7 of section 1(b) of the International Banking Act of 1978)); [1]

(iv) bribery of a public official, or the misappropriation, theft, or embezzlement of public funds

by or for the benefit of a public official;
(v) smuggling or export control violations involving—

(I) an item controlled on the United States Munitions List established under section 38 of the

Arms Export Control Act (22 U.S.C. 2778); or

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(II) an item controlled under regulations under the Export Administration Regulations (15 C.F.R.

Parts 730-774);

(vi) an offense with respect to which the United States would be obligated by a multilateral
treaty, either to extradite the alleged offender or to submit the case for prosecution, if the

offender were found within the territory of the United States; or

(vii) trafficking in persons, selling or buying of children, sexual exploitation of children, or

transporting, recruiting or harboring a person, including a child, for commercial sex acts;

(C) any act or acts constituting a continuing criminal enterprise, as that term is defined in section

408 of the Controlled Substances Act (21 U.S.C. 848);

(D) an offense under section 32 (relating to the destruction of aircraft), section 37 (relating to
violence at international airports), section 115 (relating to influencing, impeding, or retaliating
against a Federal official by threatening or injuring a family member), section 152 (relating to
concealment of assets; false oaths and claims; bribery), section 175c (relating to the variola
virus), section 215 (relating to commissions or gifts for procuring loans), section 351 (relating to
congressional or Cabinet officer assassination), any of sections 500 through 503 (relating to
certain counterfeiting offenses), section 513 (relating to securities of States and private entities),
section 541 (relating to goods falsely classified), section 542 (relating to entry of goods by means
of false statements), section 545 (relating to smuggling goods into the United States), section 549
(relating to removing goods from Customs custody), section 554 (relating to smuggling goods
from the United States), section 555 (relating to border tunnels), section 641 (relating to public
money, property, or records), section 656 (relating to theft, embezzlement, or misapplication by

bank officer or employee), section 657 (relating to lending, credit, and insurance institutions),

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section 658 (relating to property mortgaged or pledged to farm credit agencies), section 666
(relating to theft or bribery concerning programs receiving Federal funds), section 793, 794, or
798 (relating to espionage), section 831 (relating to prohibited transactions involving nuclear
materials), section 844(f) or (i) (relating to destruction by explosives or fire of Government
property or property affecting interstate or foreign commerce), section 875 (relating to interstate
communications), section 922(1) (relating to the unlawful importation of firearms), section
924(n) (relating to firearms trafficking), section 956 (relating to conspiracy to kill, kidnap, maim,
or injure certain property in a foreign country), section 1005 (relating to fraudulent bank entries),
1006 [2] (relating to fraudulent Federal credit institution entries), 1007 [2] (relating to Federal
Deposit Insurance transactions), 1014 [2] (relating to fraudulent loan or credit applications),
section 1030 (relating to computer fraud and abuse), 1032 [2] (relating to concealment of assets
from conservator, receiver, or liquidating agent of financial institution), section 1111 (relating to
murder), section 1114 (relating to murder of United States law enforcement officials), section
1116 (relating to murder of foreign officials, official guests, or internationally protected persons),
section 1201 (relating to kidnaping), section 1203 (relating to hostage taking), section 1361
(relating to willful injury of Government property), section 1363 (relating to destruction of
property within the special maritime and territorial jurisdiction), section 1708 (theft from the
mail), section 1751 (relating to Presidential assassination), section 2113 or 2114 (relating to bank
and postal robbery and theft), section 2252A (relating to child pornography) where the child
pornography contains a visual depiction of an actual minor engaging in sexually explicit conduct,
section 2260 (production of certain child pornography for importation into the United States),
section 2280 (relating to violence against maritime navigation), section 2281 (relating to

violence against maritime fixed platforms), section 2319 (relating to copyright infringement),

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section 2320 (relating to trafficking in counterfeit goods and services), section 2332 (relating to
terrorist acts abroad against United States nationals), section 2332a (relating to use of weapons
of mass destruction), section 2332b (re lating to international terrorist acts transcending national
boundaries), section 2332g (relating to missile systems designed to destroy aircraft), section
2332h (relating to radiological dispersal devices), section 2339A or 2339B (relating to providing
material support to terrorists), section 2339C (relating to financing of terrorism), or section
2339D (relating to receiving military-type training from a foreign terrorist organization) of this
title, section 46502 of title 49, United States Code, a felony violation of the Chemical Diversion
and Trafficking Act of 1988 (relating to precursor and essential chemicals), section 590 of the
Tariff Act of 1930 (19 U.S.C. 1590) (relating to aviation smuggling), section 422 of the
Controlled Substances Act (relating to transportation of drug paraphernalia), section 38(c)
(relating to criminal violations) of the Arms Export Control Act, section 11 [3] (relating to
violations) of the Export Administration Act of 1979, section 206 (relating to penalties) of the
International Emergency Economic Powers Act, section 16 (relating to offenses and punishment)
of the Trading with the Enemy Act, any felony violation of section 15 of the Food and Nutrition
Act of 2008 (relating to supplemental nutrition assistance program benefits fraud) involving a
quantity of benefits having a value of not less than $5,000, any violation of section 543(a)(1) of
the Housing Act of 1949 (relating to equity skimming), any felony violation of the Foreign
Agents Registration Act of 1938, any felony violation of the Foreign Corrupt Practices Act,
section 92 of the Atomic Energy Act of 1954 (42 U.S.C. 2122) (relating to prohibitions
governing atomic weapons), or section 104(a) of the North Korea Sanctions Enforcement Act of

2016 [3] (relating to prohibited activities with respect to North Korea);

environmental crimes

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(E) a felony violation of the Federal Water Pollution Control Act (33 U.S.C, 1251 et seq.), the
Ocean Dumping Act (33 U.S.C. 1401 et seq.), the Act to Prevent Pollution from Ships (33
U.S.C. 1901 et seq.), the Safe Drinking Water Act (42 U.S.C. 300f et seq.), or the Resources

Conservation and Recovery Act (42 U.S.C. 6901 et seq.);
(F) any act or activity constituting an offense involving a Federal health care offense; or

(G) any act that is a criminal violation of subparagraph (A), (B), (C), (D), (E), or (F) of
paragraph (1) of section 9(a) of the Endangered Species Act of 1973 (16 U.S.C. 153 8(a)(1)),
section 2203 of the African Elephant Conservation Act (16 U.S.C. 4223), or section 7(a) of the
Rhinoceros and Tiger Conservation Act of 1994 (16 U.S.C. 5305a(a)), if the endangered or
threatened species of fish or wildlife, products, items, or substances involved in the violation and

relevant conduct, as applicable, have a total value of more than $10,000;

(8) the term “State” includes a State of the United States, the District of Columbia, and any

commonwealth, territory, or possession of the United States; and

(9) the term “proceeds” means any property derived from or obtained or retained, directly or

indirectly, through some form of unlawful activity, including the gross receipts of such activity.

(d) Nothing in this section shall supersede any provision of Federal, State, or other law imposing

criminal penalties or affording civil remedies in addition to those provided for in this section.

(e) Violations of this section may be investigated by such components of the Department of
Justice as the Attorney General may direct, and by such components of the Department of the
Treasury as the Secretary of the Treasury may direct, as appropriate, and, with respect to
offenses over which the Department of Homeland Security has jurisdiction, by such components
of the Department of Homeland Security as the Secretary of Homeland Security may direct, and,

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with respect to offenses over which the United States Postal Service has jurisdiction, by the
Postal Service. Such authority of the Secretary of the Treasury, the Secretary of Homeland
Security, and the Postal Service shall be exercised in accordance with an agreement which shall
be entered into by the Secretary of the Treasury, the Secretary of Homeland Security, the Postal
Service, and the Attorney General. Violations of this section involving offenses described in
paragraph (c)(7)(E) may be investigated by such components of the Department of Justice as the
Attorney General may direct, and the National Enforcement Investigations Center of the

Environmental Protection Agency.
(f) There is extraterritorial jurisdiction over the conduct prohibited by this section tf—

(1) the conduct is by a United States citizen or, in the case of a non-United States citizen, the

conduct occurs in part in the United States; and

(2) the transaction or series of related transactions involves funds or monetary instruments of a

value exceeding $10,000.
(g) Notice of Conviction of Financial Institutions.—

If any financial institution or any officer, director, or employee of any financial institution has
been found guilty of an offense under this section, section 1957 or 1960 of this title, or section
5322 or 5324 of title 31, the Attorney General shall provide written notice of such fact to the

appropriate regulatory agency for the financial institution.

(h) Any person who conspires to commit any offense defined in this section or section 1957 shall
be subject to the same penalties as those prescribed for the offense the commission of which was

the object of the conspiracy.

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(i) Venue.—

(1) Except as provided in paragraph (2), a prosecution for an offense under this section or section

1957 may be brought in—
(A) any district in which the financial or monetary transaction is conducted; or

(B) any district where a prosecution for the underlying specified unlawful activity could be
brought, if the defendant participated in the transfer of the proceeds of the specified unlawful

activity from that district to the district where the financial or monetary transaction is conducted.

(2) A prosecution for an attempt or conspiracy offense under this section or section 1957 may be
brought in the district where venue would lie for the completed offense under paragraph (1), or

in any other district where an act in furtherance of the attempt or conspiracy took place.

(3) For purposes of this section, a transfer of funds from 1 place to another, by wire or any other
means, shall constitute a single, continuing transaction. Any person who conducts (as that term is
defined in subsection (c)(2)) any portion of the transaction may be charged in any district in

which the transaction takes place.

Defendants GOOGLE LLC and Shareholders using its software and technologies gave life to
this illegal operation was a part of a mulita district money laundering scheme to be involved in
illegal money laundering and kickback schemes with the ultimate goal to take from the
government through wire across interstate lines to take from the US government clean the
monies overseas and reinvest the money around the world a using Mr. Davis and others in
similar situations as stepping stones to their ultimate plan resulted in damages and injury to Mr.
Davis. Therefore, defendants GOOGLE LLC and Shareholders is liable of Laundering of
monetary instruments.

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59. Defendants owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are

liable for damages.

FOURTEENTH CAUSE OF ACTION

( Engaging in monetary transactions in property derived from specified unlawful activity)

(18 U.S.C 1957)
60. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

61. Defendants GOOGLE LLC and Shareholders intended to commit engaging in
monetary transactions in property derived from specified unlawful activity laundering of
monetary instruments. Engaging in monetary transactions in property derived from specified
unlawful activity laundering of monetary instruments is Defendant charged with knowingly
engaging or attempting to engage in a monetary transaction involving more than $10,000 of
criminally derived property. Defendants GOOGLE LLC and Shareholders unlawful activity
participating. in a worldwide kickback an money laundering scheme using their software
program and businesses for illegal kickbacks and money laundering hiding assets overseas and in
crypto currencies to clean it up and reinvest in other legitimate ventures resulted in damages and
injury to Mr. Davis. Therefore, defendants GOOGLE LLC and Shareholders is liable of

engaging in monetary transactions in property derived from specified unlawful activity.

62. Defendants owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are

liable for damages.

FIFTEENTH CAUSE OF ACTION

(Negligent Supervision)

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63. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

64. Defendants GOOGLE LLC and Shareholders intended to commit negligent
supervision. Negligent supervision is when someone who has a legal responsibility to supervise
others fails to do so ina responsible manner. Defendants GOOGLE LLC and Shareholders
negligent supervision was allowing their employees attach trackers and monitor and divert Mr.
Davis information to other companies agents and government agents for huge domestic
harassment campaign from having GOOGLE on my phone permission resulted in Mr. Davis
damages and injury Mr. Davis. Therefore, defendant GOOGLE LLC and Shareholders is liable

for Negligent Supervision.

65. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

66. Defendants GOOGLE LLC and Shareholders intended to commit the defendant had a
duty to supervise the harming party. The defendant had a duty to supervise the harming party is
supervisors had a duty of care towards another. Defendants GOOGLE LLC and Shareholders
the defendant had a duty to protect Mr. Davis from injury providing adequate security withing
their program and the equipment that traffic and hold such data . Therefore, defendants

GOOGLE LLC and Shareholders is liable for the defendant had a duty to supervise the harming
party.
67. Damages owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are

liable for damages.

68. Defendants GOOGLE LLC and Shareholders intended to commit the defendant

negligently supervised the harming party. The defendant negligently supervised the harming

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party is supervisor that not thoroughly supervising and delegating authority throughout the
operation. Defendants GOOGLE LLC and Shareholders was negligent and infrequent with
supervision of their employees actions to cause harm to Mr. Davis even when all Microsoft
employees knew or should have known of the injustice towards Mr. Davis resulted in damages
and injury to Mr. Davis. Therefore, defendants GOOGLE LLC and Shareholders is liable for the

defendant negligently supervised the harming party.

69. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

70. Defendants GOOGLE LLC and Shareholders intended to commit such negligence
proximately cause the. Such negligence proximately caused the is that the injury was cause by
the actual person direct or immediate. Defendants GOOGLE LLC. and Shareholders such
negligence proximately caused the was GOOGLE employees was the proximate causes of Mr.
Davis injuries by taking and distributing his information to cavass an area and to receive kick
backs in a major money laundering amongst government contractor Infragard and numerous
other business in state and worldwide resulted in damages and injury to Mr. Davis. Therefore,
defendants GOOGLE LLC and Shareholders is liable for such negligence proximately caused

the.

71. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

SIXTEENTH CAUSE OF ACTION

(Negligent Hiring)
72. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

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73. Defendants GOOGLE LLC and Shareholders intended to commit negligent hiring.
Negligent Hiring is a legal claim made against an employer. The negligent hiring claim argues
that the employer knew or should have known their history before hiring them. Basically, if you
are not diligent about finding out a candidate's background, you could be responsible for their
actions. Defendants GOOGLE LLC and Shareholders negligent hiring was hiring persons who
tracked, imprison and take data and sold it to other companies on the kickback and the company
was in agreement with this behavior and both benefited from this illegal operation resulted in
damages and injury. Therefore, defendants GOOGLE and Shareholders liable for negligent

hiring.

74. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

75, Defendants GOOGLE LLC and Shareholders intended to commit that the employer
owed the injured party (plaintiff) a duty of care. That the employer owed the injured party
(plaintiff) a duty of care is a requirement that a person act toward others and the public with the
watchfulness, attention, caution and prudence that a reasonable person in the circumstances
would use. If a person's actions do not meet this standard of care, then the acts are considered
negligent, and any damages resulting may be claimed in a lawsuit for negligence. Defendants
GOOGLE LLC and Shareholders did not think of the duty care and only about the lucrative
gains off the kickback and money laundering resulted in damages and injury to Mr. Davis,
Therefore, defendants GOOGLE and Shareholders is liable for the employer owed the injured

party (plaintiff) a duty of care.

76. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

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77. Defendants GOOGLE and Shareholders intended to commit the injury to the plaintiff
was reasonably foreseeable. The injury to the plaintiff was reasonably foreseeable is The
foreseeability test basically asks whether the person causing the injury should have reasonably
foreseen the general consequences that would result because of his or her conduct. Defendants
GOOGLE LLC and Shareholders the injury to the plaintiff was reasonably foreseeable was and
intentional infliction of emotional distress that was known about and is a part of the agents
gaslighting culture simply put its apart of the torture on the psyche to break a person down but
not build them back up as in the military resulted in damages and injury to Mr. Davis.
Therefore, defendants GOOGLE LLC and Shareholders is liable of the injury to the plaintiff

was reasonably foreseeable.

78. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

SEVENTEENTH CAUSE OF ACTION
(Anti kickback act of 1986 41 U.S.C. - Section 51)

79. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

80. Defendants GOOGLE LLC and Shareholders intended to commit Anti-kickback Act.
[1] Anti-kickback act is that the purpose of the kickback was for improperly obtaining or
rewarding favorable treatment.. Covered class of "kickback" recipients--The Act prohibits
"kickbacks" to prime contractors, prime contractor employees, subcontractors, and subcontractor
employees. The Anti-Kickback Act of 1986, 41 U.S.C. § 51 et seq., modernized and closed the
loopholes of previous statutes applying to government contractors. The 1986 law attempts to

make the anti-kickback statute a more useful prosecutorial tool by expanding the definition of

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prohibited conduct and by making the statute applicable to a broader range of persons involved

in government subcontracting. Prosecutions under these statutes must establish the following:

1. Prohibited conduct--the Act prohibits attempted as well as completed "kickbacks," which
include any money, fees, commission, credit, gift, gratuity, thing of value, or compensation of
any kind. The act also provides that the inclusion of kickback amounts in contract prices is

prohibited conduct in itself.

2. Purpose of kickback--The Act requires that the purpose of the kickback was for improperly
obtaining or rewarding favorable treatment. It is intended to embrace the full range of
government contracting. Prior to 1986, the "kickback" was required to be for the inducement or

acknowledgement of a subcontract.

3. Covered class of "kickback" recipients--The Act prohibits "kickbacks" to prime contractors,
prime contractor employees, subcontractors, and subcontractor employees. These terms are

defined in the Act.

4. Type of contract--The Act defines kickbacks to include payments under any government

contract. Prior to this legislation, the statutes’ applicability was limited to negotiated contracts.

5. Knowledge and willfulness--The Act requires one to knowingly and willfully engage in the

prohibited conduct for the imposition of criminal sanctions.

Defendants GOOGLE LLC and Shareholders Anti-kickback act was the illegal colluding of
GOOGLE LLC and numerous companies around the world committing bribes and kickbacks
fund unbeknownst to the US government for their illegal activities and subjecting persons to
illegal searches and seizure of their property and livelihood continue to receive lucruative
kickbacks per persons around the United States like a modern day slave auctions with falsily _

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imprisoning person from multiple backgrounds, ethics and social economic levels and similar to
the for profit prison industry just in a domestic setting resulted in damages and injury to Mr.

Davis. Therefore, defendants GOOGLE LLC and Shareholders is liable for anti-kickback.

[1] United States ex rel. Moilan v. McAllen Hospitals, L.P., et al., Case No. M-05-CV-263 S.D.

Tex.200

81. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

EIGHTEENTH CAUSE OF ACTION

(18 U.S. Code § 1951 - Interference with commerce by threats or violence)
82. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.
83. Defendants GOOGLE LLC and Shareholders intended to commit Interference with

commerce by threats or violence. Interference with commerce by threats or violence is:

(a) Whoever in any way or degree obstructs, delays, or affects commerce or the movement of
any article or commodity in commerce, by robbery or extortion or attempts or conspires so to do,
or commits or threatens physical violence to any person or property in furtherance of a plan or
purpose to do anything in violation of this section shall be fined under this title or imprisoned not

more than twenty years, or both.

(b) As used in this section—

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(1) The term “robbery” means the unlawful taking or obtaining of personal property from the
person or in the presence of another, against his will, by means of actual or threatened force, or
violence, or fear of injury, immediate or future, to his person or property, or property in his
custody or possession, or the person or property of a relative or member of his family or of

anyone in his company at the time of the taking or obtaining.

(2) The term “extortion” means the obtaining of property from another, with his consent, induced

by wrongful use of actual or threatened force, violence, or fear, or under color of official right.

(3) The term “commerce” means commerce within the District of Columbia, or any Territory or
Possession of the United States; all commerce between any point in a State, Territory,
Possession, or the District of Columbia and any point outside thereof; all commerce between
points within the same State through any place outside such State; and all other commerce over

which the United States has jurisdiction.

Defendants GOOGLE LLC and Shareholders interference with commerce by threats or violence
over the internet using force algorithms inducing bullyin g and harassing during the hours of
commerce and around the clock across interstate lines and across the world to control using their
program to imprison your whereabouts on the net and the google maps to imprison your
whereabouts out in town and Mr. Davis uses and needs both and Google is everywhere and even
other programs that’s a search still have to cross Google software they are a monoply. Therefore,
defendants GOOGLE LLC and Shareholders is liable for Interference with commerce by threats

or violence.

84. Defendants damages owe in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages

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NINTEENTH CAUSE OF ACTION

(Theft or bribery concerning programs receiving Federal funds)

(18 U. S. section 666)

85. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

86. Defendants GOOGLE LLC and Shareholders intended to commit theft or bribery
concerning programs receiving Federal funds. [1] enacted in 1984 to extend the reach of federal
bribery law beyond federal officials, witnesses and jurors, to employees of private firms that
receive federal money. Section 666 makes it a crime for a person to give or accept something of
value ‘in connection with [a] business’, if the ‘the entity for which the defendant acted as an
agent received more than $10,000 a year in federal assistance’. Theft or bribery concerning
programs receiving Federal funds is The purpose of this statute is protect the integrity of the vast

sums of money distributed through federal programs including:
(a) Whoever, if the circumstance described in subsection (b) of this section exists—

(1) being an agent of an organization, or of a State, local, or Indian tribal government, or any

agency thereof—

(A) embezzles, steals, obtains by fraud, or otherwise without authority knowingly converts to the

use of any person other than the rightful owner or intentionally misapplies, property that—
(i) is valued at $5,000 or more, and

(ii) is owned by, or is under the care, custody, or control of such organization, government, or

agency; or

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(B) corruptly solicits or demands for the benefit of any person, or accepts or agrees to accept,
anything of value from any person, intending to be influenced or rewarded in connection with
any business, transaction, or series of transactions of such organization, government, or agency

involving anything of value of $5,000 or more; or

(2) corruptly gives, offers, or agrees to give anything of value to any person, with intent to
influence or reward an agent of an organization or of a State, local or Indian tribal government,
or any agency thereof, in connection with any business, transaction, or series of transactions of

such organization, government, or agency involving anything of value of $5,000 or more;
shall be fined under this title, imprisoned not more than 10 years, or both.

(b) The circumstance referred to in subsection (a) of this section is that the organization,
government, or agency receives, in any one year period, benefits in excess of $10,000 under a
Federal program involving a grant, contract, subsidy, loan, guarantee, insurance, or other form of

Federal assistance.

(c) This section does not apply to bona fide salary, wages, fees, or other compensation paid, or

expenses paid or reimbursed, in the usual course of business.
(d) As used in this section—

(1) the term “agent” means a person authorized to act on behalf of another person or a
government and, in the case of an organization or government, includes a servant or employee,

and a partner, director, officer, manager, and representative;

(2) the term “government agency” means a subdivision of the executive, legislative, judicial, or

other branch of government, including a department, independent establishment, commission,

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administration, authority, board, and bureau, and a corporation or other legal entity established,
and subject to control, by a government or governments for the execution of a governmental or

intergovernmental program;
(3) the term “local” means of or pertaining to a political subdivision within a State;

(4) the term “State” includes a State of the United States, the District of Columbia, and any

commonwealth, territory, or possession of the United States; and

(5) the term “in any one-year period” means a continuous period that commences no earlier than
twelve months before the commission of the offense or that ends no later than twelve months
after the commission of the offense. Such period may include time both before and after the

commission of the offense.

Defendants GOOGLE LLC and Shareholders was participating in the scheme to receive
government funds from a government contract and was accepting government monies from the
kickback and bribes from a FBI trained organization called Infragard and other name brand
household name American companies that spreads around the world in a multi district scheme
resulting in damages and injury to Mr. Davis Therefore, defendants GOOGLE and Shareholders

was liable of Theft or bribery concerning programs receiving Federal funds.
[1] Dixson v. United States, 465 U.S. 482 (1984)

87. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.
Defendants are liable for damages.
TWENTIETH CAUSE OF ACTION

(Hobbs Act)
(18 USC § 1951)

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88. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

89. Defendants GOOGLE LLC and Shareholders intended to commit Hobbs Act. See
[1][2] Hobbs Act is enacted in 1946, as an amendment to the 1934 Anti-Racketeering Act.
Although the Act was originally intended to combat racketeering in labour-management
disputes, the statute has frequently been used in connection with cases involving public
corruption and commercial disputes. The Act criminalizes three distinct forms of criminal
conduct: (1) robbery; (2) extortion by force, threat or fear; and (3) extortion under colour of
official right. Only the third is relevant here. Extortion under colour of official right consists in
the offender’s use of his official position to extract something of a value from the alleged victim
—understood, essentially, as the taking of a bribe. It is punishable by up to twenty years in prison.
Proof of "racketeering" as an element of Hobbs Act offenses is not required. Defendants
GOOGLE LLC and Shareholders Hobbs Act was subjecting racketeering and commercial
bribery and money laundering funds by seizing Mr. Davis property his computer data and
computer and cellphone to control and coordinate others to find Mr. Davis anywhere in order to
get their cut of the money resulted in damages and Mr. Davis injury. Therefore, defendants

GOOGLE LLC and Shareholders is liable of the Hobbs Act.
[1] Evans v. United States, 504 U.S. 255, 265, 112 S. Ct. 1181, 1188 (1992)

[2] United States v. Culbert, 435 U.S. 371, 98 S. Ct. 1112 (1978)

90. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

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TWENTIETH FIRST CAUSE OF ACTION

(Racketeer Influenced and Corrupt Organizations (RICO) statute (18 U.S.C. § 1961)
1961)

91. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

92. Defendant GOOGLE LLC and Shareholders intended to commit Racketeer Influenced
and Corrupt Organizations (RICO) statute (18 U.S.C. § 1961) 1961. [1][2][3] Racketeer
Influenced and Corrupt Organizations (RICO) statute (18 U.S.C. § 1961) 1961 is a United States
federal law that provides for extended criminal penalties and a civil GOOGLE LLC cause of
action for acts performed as part of an ongoing criminal organization. Defendants Racketeer
Influenced and Corrupt Organizations (RICO) was ongoing criminal cartel and GOOGLE LLC
along with numerous government contractors and companies was in charge of its networks and
software to communicated and they receive a cut from such actions to steal from US government
and Mr. Davis resulted in Mr. Davis injury. Therefore, defendants GOOGLE LLC and

Shareholders is liable of Racketeer Influenced and Corrupt Organizations (RICO).
[1] United States v. Philip Morris USA, Inc., 566 F.3d 1095, 1118 (D.C. Cir. 2009)

[2] Rivera v. State of New York, 34 NY 3d 383 (2019)

[3] S.P.RLL. v. Imrex Co., Inc.,473 U.S. 479, 495 (1985) (stating that § 1962 makes it illegal for a person “to
use money derived from a pattern of racketeering activity to invest in an enterprise, to acquire control of an

enterprise through a pattern of racketeering activity, or to conduct an enterprise through a pattern of racketeering

activity").

93. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

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TWENTIETH SECOND CAUSE OF ACTION
(15 U.S. Code § 78dd-1 - Prohibited foreign trade practices by issuers)

(The FCPA covers U.S. and foreign public companies listed on a U.S. stock exchange _ issuers)
94. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

95. Defendants GOOGLE LLC and Shareholders intended to commit 15 U.S. Code § 78dd-1
- Prohibited foreign trade practices by issuers. 15 U.S. Code § 78dd—I - Prohibited foreign trade

practices by issuers is:

(a) Prohibition It shall be unlawful for any issuer which has a class of securities registered
pursuant to section 781 of this title or which is required to file reports under section 780(d) of this
title, or for any officer, director, employee, or agent of such issuer or any stockholder thereof
acting on behalf of such issuer, to make use of the mails or any means or instrumentality of
interstate commerce corruptly in furtherance of an offer, payment, promise to pay, or
authorization of the payment of any money, or offer, gift, promise to give, or authorization of the

giving of anything of value to—
(1) any foreign official for purposes of —

(A)

(i) influencing any act or decision of such foreign official in his official capacity, (i) inducing
such foreign official to do or omit to do any act in violation of the lawful duty of such official, or

(iii) securing any improper advantage; or

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(B) inducing such foreign official to use his influence with a foreign government or
instrumentality thereof to affect or influence any act or decision of such government or

instrumentality,

in order to assist such issuer in obtaining or retaining business for or with, or directing business

to, any person;

(2) any foreign political party or official thereof or any candidate for foreign political office for

purposes of—

(A)

(i) influencing any act or decision of such party, official, or candidate in its or his official
capacity, (ii) inducing such party, official, or candidate to do or omit to do an act in violation of

the lawful duty of such party, official, or candidate, or (iii) securing any improper advantage; or

(B) inducing such party, official, or candidate to use its or his influence with a foreign
government or instrumentality thereof to affect or influence any act or decision of such

government or instrumentality,

in order to assist such issuer in obtaining or retaining business for or with, or directing business

to, any person; or

(3) any person, while knowing that all or a portion of such money or thing of value will be
offered, given, or promised, directly or indirectly, to any foreign official, to any foreign political

party or official thereof, or to any candidate for foreign political office, for purposes of —

(A)

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(i) influencing any act or decision of such foreign official, political party, party official, or
candidate in his or its official capacity, (ii) inducing such foreign official, political party, party
official, or candidate to do or omit to do any act in violation of the lawful duty of such foreign

official, political party, party official, or candidate, or (ili) securing any improper advantage; or

(B) inducing such foreign official, political party, party official, or candidate to use his or its
influence with a foreign government or instrumentality thereof to affect or influence any act or

decision of such government or instrumentality,

in order to assist such issuer in obtaining or retaining business for or with, or directing business

to, any person.

(b) Exception for routine governmental action

Subsections (a) and (g) shall not apply to any facilitating or expediting payment to a foreign
official, political party, or party official the purpose of which is to expedite or to secure the
performance of a routine governmental action by a foreign official, political party, or party

official.

(c) Affirmative defenses It shall be an affirmative defense to actions under subsection (a) or (g)

that—

(1) the payment, gift, offer, or promise of anything of value that was made, was lawful under the
written laws and regulations of the foreign official’s, political party’s, party official’s, or

candidate’s country; or

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(2) the payment, gift, offer, or promise of anything of value that was made, was a reasonable and
bona fide expenditure, such as travel and lodging expenses, incurred by or on behalf of a foreign

official, party, party official, or candidate and was directly related to—
(A) the promotion, demonstration, or explanation of products or services; or
(B) the execution or performance of a contract with a foreign government or agency thereof.

(d) Guidelines by Attorney General Not later than one year after August 23, 1988, the Attorney
General, after consultation with the Commission, the Secretary of Commerce, the United States
Trade Representative, the Secretary of State, and the Secretary of the Treasury, and after
obtaining the views of all interested persons through public notice and comment procedures,
shall determine to what extent compliance with this section would be enhanced and the business
community would be assisted by further clarification of the preceding provisions of this section

and may, based on such determination and to the extent necessary and appropriate, issue—

(1) guidelines describing specific types of conduct, associated with common types of export sales
arrangements and business contracts, which for purposes of the Department of Justice’s present
enforcement policy, the Attorney General determines would be in conformance with the

preceding provisions of this section; and

(2) general precautionary procedures which issuers may use on a voluntary basis to conform their
conduct to the Department of Justice’s present enforcement policy regarding the preceding

provisions of this section.

The Attorney General shall issue the guidelines and procedures referred to in the preceding
sentence in accordance with the provisions of subchapter II of chapter 5 of title 5 and those
guidelines and procedures shall be subject to the provisions of chapter 7 of that title.

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(e) Opinions of Attorney General

(1) The Attorney General, after consultation with appropriate departments and agencies of the
United States and after obtaining the views of all interested persons through public notice and
comment procedures, shall establish a procedure to provide responses to specific inquiries by
issuers concerning conformance of their conduct with the Department of Justice’s present
enforcement policy regarding the preceding provisions of this section. The Attorney General
shall, within 30 days after receiving such a request, issue an opinion in response to that request.
The opinion shall state whether or not certain specified prospective conduct would, for purposes
of the Department of Justice’s present enforcement policy, violate the preceding provisions of
this section. Additional requests for opinions may be filed with the Attorney General regarding
other specified prospective conduct that is beyond the scope of conduct specified in previous
requests. In any action brought under the applicable provisions of this section, there shall be a
rebuttable presumption that conduct, which is specified in a request by an issuer and for which
the Attorney General has issued an opinion that such conduct is in conformity with the
Department of Justice’s present enforcement policy, is in compliance with the preceding
provisions of this section. Such a presumption may be rebutted by a preponderance of the
evidence. In considering the presumption for purposes of this paragraph, a court shall weigh all
relevant factors, including but not limited to whether the information submitted to the Attorney —
General was accurate and complete and whether it was within the scope of the conduct specified
in any request received by the Attorney General. The Attorney General shall establish the
procedure required by this paragraph in accordance with the provisions of subchapter II of

chapter 5 of title 5 and that procedure shall be subject to the provisions of chapter 7 of that title.

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(2) Any document or other material which is provided to, received by, or prepared in the
Department of Justice or any other department or agency of the United States in connection with
a request by an issuer under the procedure established under paragraph (1), shall be exempt from
disclosure under section 552 of title 5 and shall not, except with the consent of the issuer, be
made publicly available, regardless of whether the Attorney General responds to such a request

or the issuer withdraws such request before receiving a response.

(3) Any issuer who has made a request to the Attorney General under paragraph (1) may
withdraw such request prior to the time the Attorney General issues an opinion in response to

such request. Any request so withdrawn shall have no force or effect.

(4) The Attorney General shall, to the maximum extent practicable, provide timely guidance
concerning the Department of Justice’s present enforcement policy with respect to the preceding
provisions of this section to potential exporters and small businesses that are unable to obtain
specialized counsel on issues pertaining to such provisions. Such guidance shall be limited to
responses to requests under paragraph (1) concerning conformity of specified prospective
conduct with the Department of Justice’s present enforcement policy regarding the preceding
provisions of this section and general explanations of compliance responsibilities and of potential

liabilities under the preceding provisions of this section.
(f) Definitions For purposes of this section:

(1)

(A) The term “foreign official” means any officer or employee of a foreign government or any

department, agency, or instrumentality thereof, or of a public international organization, or any

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person acting in an official capacity for or on behalf of any such government or department,

agency, or instrumentality, or for or on behalf of any such public international organization.
(B) For purposes of subparagraph (A), the term “public international organization” means—
(i) an organization that is designated by Executive order pursuant to section 288 of title 22; or

(ii) any other international organization that is designated by the President by Executive order for
the purposes of this section, effective as of the date of publication of such order in the Federal

Register.

(2)

(A) A person’s state of mind is “knowing” with respect to conduct, a circumstance, or a result
if—

(i) such person is aware that such person is engaging in such conduct, that such circumstance

exists, or that such result is substantially certain to occur; or

(ii) such person has a firm belief that such circumstance exists or that such result is substantially

certain to occur.

(B) When knowledge of the existence of a particular circumstance is required for an offense,
such knowledge is established if a person is aware of a high probability of the existence of such

circumstance, unless the person actually believes that such circumstance does not exist.

(3)

(A) The term “routine governmental action” means only an action which is ordinarily and

commonly performed by a foreign official in—

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(i) obtaining permits, licenses, or other official documents to qualify a person to do business in a

foreign country;
(ii) processing governmental papers, such as visas and work orders;

(iii) providing police protection, mail pick-up and delivery, or scheduling inspections associated

with contract performance or inspections related to transit of goods across country;

(iv) providing phone service, power and water supply, loading and unloading cargo, or protecting

perishable products or commodities from deterioration; or
(v) actions of a similar nature.

(B) The term “routine governmental action” does not include any decision by a foreign official
whether, or on what terms, to award new business to or to continue business with a particular
party, or any action taken by a foreign official involved in the decision making process to

encourage a decision to award new business to or continue business with a particular party.
(g) Alternative jurisdiction

(1) It shall also be unlawful for any issuer organized under the laws of the United States, or a
State, territory, possession, or commonwealth of the United States or a political subdivision
thereof and which has a class of securities registered pursuant to section 781 of this title or which
is required to file reports under section 780(d) of this title, or for any United States person that is
an officer, director, employee, or agent of such issuer or a stockholder thereof acting on behalf of
such issuer, to corruptly do any act outside the United States in furtherance of an offer, payment,
promise to pay, or authorization of the payment of any money, or offer, gift, promise to give, or

authorization of the giving of anything of value to any of the persons or entities set forth in

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paragraphs (1), (2), and (3) of subsection (a) of this section for the purposes set forth therein,
irrespective of whether such issuer or such officer, director, employee, agent, or stockholder
makes use of the mails or any means or instrumentality of interstate commerce in furtherance of

such offer, gift, payment, promise, or authorization.

(2) As used in this subsection, the term “United States person” means a national of the United
States (as defined in section 1101 of title 8) or any corporation, partnership, association, joint-
stock company, business trust, unincorporated organization, or sole proprietorship organized
under the laws of the United States or any State, territory, possession, or commonwealth of the

United States, or any political subdivision thereof.

Defendants GOOGLE LLC and Shareholders 15 U.S. Code § 78dd—1 - Prohibited foreign trade
practices by issuers was used influencing and inducing foreign officials and at the time was listed
on the U. S. Stock Exchange when GOOGLE used its oversea influence to officials overseas
who was in on the act to further the scheme to subject the government to an illegal taking to
assist government agency working with for the FBI to bribe officials to increase their companies
coffers and business connections and inducing Mr. Davis to all kinds of abuse as a patsy for their
illegal schemes resulted in damages and injury to Mr. Davis. Therefore, defendants is liable of

Corporation15 U.S. Code § 78dd—1 - Prohibited foreign trade practices by issuers.

96. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

TWENTIETH THIRD CAUSE OF ACTION

(15 U.S. Code § 78dd-2 Prohibited foreign trade practices by domestic concerns)

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97. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

98. Defendants GOOGLE LLC and Shareholders intended to commit 15 U.S. Code § 78dd-2
Prohibited foreign trade practices by domestic concerns. 15 U.S, Code § 78dd-2 Prohibited
foreign trade practices by domestic concerns is: U.S. companies and citizens (domestic concerns
is:

(a) Prohibition It shall be unlawful for any domestic concern, other than an issuer which is
subject to section 78dd-1 of this title, or for any officer, director, employee, or agent of such
domestic concern or any stockholder thereof acting on behalf of such domestic concern, to make
use of the mails or any means or instrumentality of interstate commerce corruptly in furtherance
of an offer, payment, promise to pay, or authorization of the payment of any money, or offer,

gift, promise to give, or authorization of the giving of anything of value to—

(1) any foreign official for purposes of —

(A)

(i) influencing any act or decision of such foreign official in his official capacity, (11) inducing
such foreign official to do or omit to do any act in violation of the lawful duty of such official, or

(iii) securing any improper advantage; or

(B) inducing such foreign official to use his influence with a foreign government or
instrumentality thereof to affect or influence any act or decision of such government or

instrumentality,

in order to assist such domestic concern in obtaining or retaining business for or with, or

directing business to, any person;

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(2) any foreign political party or official thereof or any candidate for foreign political office for

purposes of—

(A)

(i) influencing any act or decision of such party, official, or candidate in its or his official
capacity, (ii) inducing such party, official, or candidate to do or omit to do an act in violation of

the lawful duty of such party, official, or candidate, or (ili) securing any improper advantage; or

(B) inducing such party, official, or candidate to use its or his influence with a foreign
government or instrumentality thereof to affect or influence any act or decision of such

government or instrumentality,

in order to assist such domestic concern in obtaining or retaining business for or with, or

directing business to, any person; or

(3) any person, while knowing that all or a portion of such money or thing of value will be
offered, given, or promised, directly or indirectly, to any foreign official, to any foreign political

party or official thereof, or to any candidate for foreign political office, for purposes of —

(A)

(i) influencing any act or decision of such foreign official, political party, party official, or
candidate in his or its official capacity, (ii) inducing such foreign official, political party, party
official, or candidate to do or omit to do any act in violation of the lawful duty of such foreign

official, political party, party official, or candidate, or (iii) securing any improper advantage; or

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(B) inducing such foreign official, political party, party official, or candidate to use his or its
influence with a foreign government or instrumentality thereof to affect or influence any act or

decision of such government or instrumentality,

in order to assist such domestic concern in obtaining or retaining business for or with, or

directing business to, any person.

(b) Exception for routine governmental action

Subsections (a) and (i) shall not apply to any facilitating or expediting payment to a foreign
official, political party, or party official the purpose of which is to expedite or to secure the
performance of a routine governmental action by a foreign official, political party, or party

official.

(c) Affirmative defenses It shall be an affirmative defense to actions under subsection (a) or (1)

that—

(1) the payment, gift, offer, or promise of anything of value that was made, was lawful under the
written laws and regulations of the foreign official’s, political party’s, party official’s, or

candidate’s country; or

(2) the payment, gift, offer, or promise of anything of value that was made, was a reasonable and
bona fide expenditure, such as travel and lodging expenses, incurred by or on behalf of a foreign

official, party, party official, or candidate and was directly related to—
(A) the promotion, demonstration, or explanation of products or services; or

(B) the execution or performance of a contract with a foreign government or agency thereof.

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(d) Injunctive relief

(1) When it appears to the Attorney General that any domestic concern to which this section
applies, or officer, director, employee, agent, or stockholder thereof, is engaged, or about to
engage, in any act or practice constituting a violation of subsection (a) or (i) of this section, the
Attorney General may, in his discretion, bring a civil action in an appropriate district court of the
United States to enjoin such act or practice, and upon a proper showing, a permanent injunction

or a temporary restraining order shall be granted without bond.

(2) For the purpose of any civil investigation which, in the opinion of the Attorney General, is
necessary and proper to enforce this section, the Attorney General or his designee are
empowered to administer oaths and affirmations, subpoena witnesses, take evidence, and require
the production of any books, papers, or other documents which the Attorney General deems
relevant or material to such investigation. The attendance of witnesses and the production of
documentary evidence may be required from any place in the United States, or any territory,

possession, or commonwealth of the United States, at any designated place of hearing.

(3) In case of contumacy by, or refusal to obey a subpoena issued to, any person, the Attorney
General may invoke the aid of any court of the United States within the jurisdiction of which
such investigation or proceeding is carried on, or where such person resides or carries on
business, in requiring the attendance and testimony of witnesses and the production of books,
papers, or other documents. Any such court may issue an order requiring such person to appear
before the Attorney General or his designee, there to produce records, if so ordered, or to give
testimony touching the matter under investigation. Any failure to obey such order of the court
may be punished by such court as a contempt thereof. All process in any such case may be

served in the judicial district in which such person resides or may be found. The Attorney

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General may make such rules relating to civil investigations as may be necessary or appropriate

to implement the provisions of this subsection.

(e) Guidelines by Attorney General Not later than 6 months after August 23, 1988, the Attorney
General, after consultation with the Securities and Exchange Commission, the Secretary of
Commerce, the United States Trade Representative, the Secretary of State, and the Secretary of
the Treasury, and after obtaining the views of all interested persons through public notice and
comment procedures, shall determine to what extent compliance with this section would be
enhanced and the business community would be assisted by further clarification of the preceding
provisions of this section and may, based on such determination and to the extent necessary and

appropriate, issue—

(1) guidelines describing specific types of conduct, associated with common types of export sales
arrangements and business contracts, which for purposes of the Department of Justice’s present
enforcement policy, the Attorney General determines would be in conformance with the

preceding provisions of this section; and

(2) general precautionary procedures which domestic concerns may use on a voluntary basis to
conform their conduct to the Department of Justice’s present enforcement policy regarding the

preceding provisions of this section.

The Attorney General shall issue the guidelines and procedures referred to in the preceding
sentence in accordance with the provisions of subchapter II of chapter 5 of title 5 and those

guidelines and procedures shall be subject to the provisions of chapter 7 of that title.

(f) Opinions of Attorney General

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(1) The Attorney General, after consultation with appropriate departments and agencies of the
United States and after obtaining the views of all interested persons through public notice and
comment procedures, shall establish a procedure to provide responses to specific inquiries by
domestic concerns concerning conformance of their conduct with the Department of Justice’s
present enforcement policy regarding the preceding provisions of this section. The Attorney
General shall, within 30 days after receiving such a request, issue an opinion in response to that
request. The opinion shall state whether or not certain specified prospective conduct would, for
purposes of the Department of Justice’s present enforcement policy, violate the preceding
provisions of this section. Additional requests for opinions may be filed with the Attorney
General regarding other specified prospective conduct that is beyond the scope of conduct
specified in previous requests. In any action brought under the applicable provisions of this
section, there shall be a rebuttable presumption that conduct, which is specified in a request by a
domestic concern and for which the Attorney General has issued an opinion that such conduct is
in conformity with the Department of Justice’s present enforcement policy, is in compliance with
the preceding provisions of this section. Such a presumption may be rebutted by a preponderance
of the evidence. In considering the presumption for purposes of this paragraph, a court shall
weigh all relevant factors, including but not limited to whether the information submitted to the
Attorney General was accurate and complete and whether it was within the scope of the conduct
specified in any request received by the Attorney General. The Attorney General shall establish
the procedure required by this paragraph in accordance with the provisions of subchapter I of

chapter 5 of title 5 and that procedure shall be subject to the provisions of chapter 7 of that title.

(2) Any document or other material which is provided to, received by, or prepared in the

Department of Justice or any other department or agency of the United States in connection with

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a request by a domestic concern under the procedure established under paragraph (1), shall be
exempt from disclosure under section 552 of title 5 and shall not, except with the consent of the
domestic concern, be made publicly available, regardless of whether the Attorney General
responds to such a request or the domestic concern withdraws such request before receiving a

response.

(3) Any domestic concern who has made a request to the Attorney General under paragraph (1)
may withdraw such request prior to the time the Attorney General issues an opinion in response

to such request. Any request so withdrawn shall have no force or effect.

(4) The Attorney General shall, to the maximum extent practicable, provide timely guidance
concerning the Department of Justice’s present enforcement policy with respect to the preceding
provisions of this section to potential exporters and small businesses that are unable to obtain
specialized counsel on issues pertaining to such provisions. Such guidance shall be limited to
responses to requests under paragraph (1) concerning conformity of specified prospective
conduct with the Department of Justice’s present enforcement policy regarding the preceding
provisions of this section and general explanations of compliance responsibilities and of potential

liabilities under the preceding provisions of this section.
(g) Penalties

(1)

(A) Any domestic concern that is not a natural person and that violates subsection (a) or (i) of

this section shall be fined not more than $2,000,000.

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(B) Any domestic concern that is not a natural person and that violates subsection (a) or (i) of
this section shall be subject to a civil penalty of not more than $10,000 imposed in an action

brought by the Attorney General.

(2)

(A) Any natural person that is an officer, director, employee, or agent of a domestic concern, or
stockholder acting on behalf of such domestic concern, who willfully violates subsection (a) or
(i) of this section shall be fined not more than $100,000 or imprisoned not more than 5 years, or

both.

(B) Any natural person that is an officer, director, employee, or agent of a domestic concern, or
stockholder acting on behalf of such domestic concern, who violates subsection (a) or (i) of this
section shall be subject to a civil penalty of not more than $10,000 imposed in an action brought

by the Attorney General.

(3) Whenever a fine is imposed under paragraph (2) upon any officer, director, employee, agent,
or stockholder of a domestic concern, such fine may not be paid, directly or indirectly, by such

domestic concern.

(h) Definitions For purposes of this section:

(1) The term “domestic concern” means—

(A) any individual who is a citizen, national, or resident of the United States; and

(B) any corporation, partnership, association, joint-stock company, business trust, unincorporated

organization, or sole proprietorship which has its principal place of business in the United States,

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or which is organized under the laws of a State of the United States or a territory, possession, or

commonwealth of the United States.

(2)

(A) The term “foreign official” means any officer or employee of a foreign government or any
department, agency, or instrumentality thereof, or of a public international organization, or any
person acting in an official capacity for or on behalf of any such government or department,

agency, or instrumentality, or for or on behalf of any such public international organization.
(B) For purposes of subparagraph (A), the term “public international organization” means—
(i) an organization that is designated by Executive order pursuant to section 288 of title 22; or

(ii) any other international organization that is designated by the President by Executive order for
the purposes of this section, effective as of the date of publication of such order in the Federal

Register.

(3)

(A) A person’s state of mind is “knowing” with respect to conduct, a circumstance, or a result
if—

(i) such person is aware that such person is engaging in such conduct, that such circumstance

exists, or that such result is substantially certain to occur; or

(ii) such person has a firm belief that such circumstance exists or that such result is substantially

certain to occur.

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(B) When knowledge of the existence of a particular circumstance is required for an offense,
such knowledge is established if a person is aware of a high probability of the existence of such

circumstance, unless the person actually believes that such circumstance does not exist.

(4)

(A) The term “routine governmental action” means only an action which is ordinarily and

commonly performed by a foreign official in—

(i) obtaining permits, licenses, or other official documents to qualify a person to do business in a

foreign country;
(ii) processing governmental papers, such as visas and work orders;

(iii) providing police protection, mail pick-up and delivery, or scheduling inspections associated

with contract performance or inspections related to transit of goods across country;

(iv) providing phone service, power and water supply, loading and unloading cargo, or protecting

perishable products or commodities from deterioration; or
(v) actions of a similar nature.

(B) The term “routine governmental action” does not include any decision by a foreign official
whether, or on what terms, to award new business to or to continue business with a particular
party, or any action taken by a foreign official involved in the decision-making process to

encourage a decision to award new business to or continue business with a particular party.

(5) The term “interstate commerce” means trade, commerce, transportation, or communication
among the several States, or between any foreign country and any State or between any State and

any place or ship outside thereof, and such term includes the intrastate use of —

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(A) a telephone or other interstate means of communication, or
(B) any other interstate instrumentality.
(i) Alternative jurisdiction

(1) It shall also be unlawful for any United States person to corruptly do any act outside the
United States in furtherance of an offer, payment, promise to pay, or authorization of the
payment of any money, or offer, gift, promise to give, or authorization of the giving of anything
of value to any of the persons or entities set forth in paragraphs (1), (2), and (3) of subsection (a),
for the purposes set forth therein, irrespective of whether such United States person makes use of
the mails or any means or instrumentality of interstate commerce in furtherance of such offer,

gift, payment, promise, or authorization.

(2) As used in this subsection, the term “United States person” means a national of the United
States (as defined in section 1101 of title 8) or any corporation, partnership, association, joint-
stock company, business trust, unincorporated organization, or sole proprietorship organized
under the laws of the United States or any State, territory, possession, or commonwealth of the

United States, or any political subdivision thereof.

Defendants GOOGLE LLC and Shareholders used its influence within the United States and
domestic concerns with a US branch and headquarters with numerous subsidiaries to hide their
illegal money to induce other participating foreign officials to hide and clean such illegal
proceeds and to reinvest the clean money into investments around the world used to influence
others apart of the worldwide money laundering operation and using its browers and other
software and hardware in their facilities as a tool to imprison persons through false pretense
using that reason to stay unnoticed at the same time breaking the laws of the commerce and

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antitrust using its company reputation to hide such injustice and no one say nothing due to their
invention of the Google browers has monopolized all facets of industry seems to look the other
way to the behavior resulted in damages and injury to Mr. Davis. Therefore, defendants
GOOGLE LLC and Shareholders is liable of 15 U.S. Code § 78dd—2 Prohibited foreign trade

practices by domestic concerns.

99. Damages owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are liable

for damages.

TWENTIETH FOURTH CAUSE OF ACTION

(15 U.S. Code § 78dd-3 - Prohibited foreign trade practices by persons other than issuers

or domestic concerns)
100. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

101. Defendants GOOGLE LLC and Shareholders intended to commit 15 U.S. Code §
78dd-3 - Prohibited foreign trade practices by persons other than issuers or domestic concerns.
15 U.S. Code § 78dd-3 - Prohibited foreign trade practices by persons other than issuers or

domestic concerns is: any person within the territorial United States that

(a) Prohibition It shall be unlawful for any person other than an issuer that is subject to section
78dd—1 of this title or a domestic concern (as defined in section 78dd-2 of this title), or for any
officer, director, employee, or agent of such person or any stockholder thereof acting on behalf
of such person, while in the territory of the United States, corruptly to make use of the mails or
any means or instrumentality of interstate commerce or to do any other act in furtherance of an
offer, payment, promise to pay, or authorization of the payment of any money, or offer, gift,
promise to give, or authorization of the giving of anything of value to—

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(1) any foreign official for purposes of—
(A)

(i) influencing any act or decision of such foreign official in his official capacity, (1i) inducing
such foreign official to do or omit to do any act in violation of the lawful duty of such official, or

(iii) securing any improper advantage; or

(B) inducing such foreign official to use his influence with a foreign government or
instrumentality thereof to affect or influence any act or decision of such government or

instrumentality,

in order to assist such person in obtaining or retaining business for or with, or directing business

to, any person;

(2) any foreign political party or official thereof or any candidate for foreign political office for

purposes of—
(A)

(i) influencing any act or decision of such party, official, or candidate in its or his official
capacity, (ii) inducing such party, official, or candidate to do or omit to do an act in violation of

the lawful duty of such party, official, or candidate, or (iii) securing any improper advantage; or

(B) inducing such party, official, or candidate to use its or his influence with a foreign
government or instrumentality thereof to affect or influence any act or decision of such

government or instrumentality,

in order to assist such person in obtaining or retaining business for or with, or directing business _

to, any person; or

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(3) any person, while knowing that all or a portion of such money or thing of value will be
offered, given, or promised, directly or indirectly, to any foreign official, to any foreign political

party or official thereof, or to any candidate for foreign political office, for purposes of —

(A)

(i) influencing any act or decision of such foreign official, political party, party official, or
candidate in his or its official capacity, (ii) inducing such foreign official, political party, party
official, or candidate to do or omit to do any act in violation of the lawful duty of such foreign

official, political party, party official, or candidate, or (iii) securing any improper advantage; or

(B) inducing such foreign official, political party, party official, or candidate to use his or its
influence with a foreign government or instrumentality thereof to affect or influence any act or

decision of such government or instrumentality,

in order to assist such person in obtaining or retaining business for or with, or directing business

to, any person.

(b) Exception for routine governmental action

Subsection (a) of this section shall not apply to any facilitating or expediting payment to a
foreign official, political party, or party official the purpose of which is to expedite or to secure
the performance of a routine governmental action by a foreign official, political party, or party

official.
(c) Affirmative defenses It shall be an affirmative defense to actions under subsection (a) of this

section that—

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(1) the payment, gift, offer, or promise of anything of value that was made, was lawful under the
written laws and regulations of the foreign official’s, political party’s, party official’s, or

candidate’s country; or

(2) the payment, gift, offer, or promise of anything of value that was made, was a reasonable and
bona fide expenditure, such as travel and lodging expenses, incurred by or on behalf of a foreign

official, party, party official, or candidate and was directly related to—

(A) the promotion, demonstration, or explanation of products or services; or

(B) the execution or performance of a contract with a foreign government or agency thereof.
(d) Injunctive relief

(1) When it appears to the Attorney General that any person to which this section applies, or
officer, director, employee, agent, or stockholder thereof, is engaged, or about to engage, in any
act or practice constituting a violation of subsection (a) of this section, the Attorney General
may, in his discretion, bring a civil action in an appropriate district court of the United States to
enjoin such act or practice, and upon a proper showing, a permanent injunction or a temporary

restraining order shall be granted without bond.

(2) For the purpose of any civil investigation which, in the opinion of the Attorney General, is
necessary and proper to enforce this section, the Attorney General or his designee are
empowered to administer oaths and affirmations, subpoena witnesses, take evidence, and require
the production of any books, papers, or other documents which the Attorney General deems
relevant or material to such investigation. The attendance of witnesses and the production of
documentary evidence may be required from any place in the United States, or any territory,
possession, or commonwealth of the United States, at any designated place of hearing.

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(3) In case of contumacy by, or refusal to obey a subpoena issued to, any person, the Attorney
General may invoke the aid of any court of the United States within the jurisdiction of which
such investigation or proceeding is carried on, or where such person resides or carries on
business, in requiring the attendance and testimony of witnesses and the production of books,
papers, or other documents. Any such court may issue an order requiring such person to appear
before the Attorney General or his designee, there to produce records, if so ordered, or to give
testimony touching the matter under investigation. Any failure to obey such order of the court

may be punished by such court as a contempt thereof.

(4) All process in any such case may be served in the judicial district in which such person
resides or may be found. The Attorney General may make such rules relating to civil

investigations as may be necessary or appropriate to implement the provisions of this subsection.

(e) Penalties

(1)

(A) Any juridical person that violates subsection (a) of this section shall be fined not more than

$2,000,000.

(B) Any juridical person that violates subsection (a) of this section shall be subject to a civil

penalty of not more than $10,000 imposed in an action brought by the Attorney General.

(2)

- (A) Any natural person who willfully violates subsection (a) of this section shall be fined not

more than $100,000 or imprisoned not more than 5 years, or both.

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(B) Any natural person who violates subsection (a) of this section shall be subject to a civil

penalty of not more than $10,000 imposed in an action brought by the Attorney General.

(3) Whenever a fine is imposed under paragraph (2) upon any officer, director, employee, agent,

or stockholder of a person, such fine may not be paid, directly or indirectly, by such person.
(f) Definitions For purposes of this section:

(1) The term “person”, when referring to an offender, means any natural person other than a
national of the United States (as defined in section 1101 of title 8 [1] or any corporation,
partnership, association, joint-stock company, business trust, unincorporated organization, or

sole proprietorship organized under the law of a foreign nation or a political subdivision thereof.

(2)

(A) The term “foreign official” means any officer or employee of a foreign government or any
department, agency, or instrumentality thereof, or of a public international organization, or any
person acting in an official capacity for or on behalf of any such government or department,

agency, or instrumentality, or for or on behalf of any such public international organization.
(B) For purposes of subparagraph (A), the term “public international organization” means—
(i) an organization that is designated by Executive order pursuant to section 288 of title 22; or

(ii) any other international organization that is designated by the President by Executive order for
the purposes of this section, effective as of the date of publication of such order in the Federal

Register.

(3)

(A) A person’s state of mind is knowing, with respect to conduct, a circumstance or a result if—

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(i) such person is aware that such person is engaging in such conduct, that such circumstance

exists, or that such result is substantially certain to occur; or

(ii) such person has a firm belief that such circumstance exists or that such result is substantially

certain to occur.

(B) When knowledge of the existence of a particular circumstance is required for an offense,
such knowledge is established if a person is aware of a high probability of the existence of such

circumstance, unless the person actually believes that such circumstance does not exist.

(4)

(A) The term “routine governmental action” means only an action which is ordinarily and

commonly performed by a foreign official in—

(i) obtaining permits, licenses, or other official documents to qualify a person to do business in a

foreign country;
(ii) processing governmental papers, such as visas and work orders;

(iii) providing police protection, mail pick-up and delivery, or scheduling inspections associated

with contract performance or inspections related to transit of goods across country;

(iv) providing phone service, power and water supply, loading and unloading cargo, or protecting

perishable products or commodities from deterioration, or
(v) actions of a similar nature.

(B) The term “routine governmental action” does not include any decision by a foreign official

whether, or on what terms, to award new business to or to continue business with a particular

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party, or any action taken by a foreign official involved in the decision-making process to

encourage a decision to award new business to or continue business with a particular party.

(5) The term “interstate commerce” means trade, commerce, transportation, or communication
among the several States, or between any foreign country and any State or between any State and

any place or ship outside thereof, and such term includes the intrastate use of —
(A) a telephone or other interstate means of communication, or

(B) any other interstate instrumentality.

Defendants GOOGLE and Shareholders NC 15 U.S. Code § 78dd—3 Prohibited foreign trade
practices by domestic concerns made transaction of money using wire cloud base computer, via
phones fax or email to conduct illegal via commerce of several states to conduct transaction from
the with foreign official s to bribe and conduct fraudulent transaction within the United States
from cellphone to airplane to satellite resulted in damages and Mr. Davis injury. Therefore,
defendants GOOGLE and Shareholders is liable of Prohibited foreign trade practices by persons

other than issuers or domestic concerns.

102. Damages owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are

liable for damages.

TWENTIETH FIFTH CAUSE OF ACTION
(Violation of Civil Rights Act of 1964)

103. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

104. Defendants GOOGLE LLC and Shareholders intended to commit Violations of the
Civil Rights Act of 1964.[1][2][3][4][5][6] Violation of Civil Rights is prohibits discrimination

on the basis of race, color, religion, sex or national origin. Provisions of this civil rights act

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forbade discrimination on the basis of sex, as well as, race in hiring, promoting, and firing.

Defendants GOOGLE LLC and Shareholders Violation of Civil Rights Act of 1964 was

discrimination and unfair treatment Mr. Davis received verse the other customers was a intended

violation of Mr. Davis Civil Rights and Fourth Amendment rights because of his race was
intimidated and at times he put in something else in the browser and it take me to klan meeting
or a black man getting hung they program algorithms that voice a viewpoint or position that is
coded in the browsers without human have to key it in per verbatim or thought resulted in
damages and injury to Mr. Davis. Therefore, Microsoft Inc. and Shareholders is liable for

Violation of the Civil Rights Act of 1964.

{1] Brown v. Board of Education, 347 U.S. 483 (1954)

[2] Berman v. Parker, 348 U.S. 26 (1954) Under the Fifth Amendment's Takings Clause private property can be

taken for a public purpose with just compensation

[3] United States v. Guest, 383 U.S. 745 (1966) There is a constitutional right to travel from state to state, and
the protections of the Fourteenth Amendment extend to citizens who suffer rights deprivations at the hands of

private conspiracies where there is minimal state participation in the conspiracy

[4] Kent v. Dulles, 357 U.S. 116 (1958) The right to travel is a part of the "liberty" of which the citizen cannot

be deprived without due process of law under the Fifth Amendment.

[5] United States v. Jones, 565 U.S. 400 (2012) Attaching a GPS device to a vehicle and then using the device to

monitor the vehicle's movements constitutes a search under the Fourth Amendment.

[6] Katz v. United States, 389 U.S. 347 (1967) The Fourth Amendment's ban on unreasonable searches and

seizures applies to all places where an individual has a "reasonable expectation of privacy.”

105. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

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TWENTIETH SIXTH CAUSE OF ACTION

(Invasion of Privacy by Inclusion on Seclusion)

106. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

107. Defendants GOOGLE LLC and Shareholders intended to commit Invasion of Privacy
by Inclusion on Seclusion. Invasion of Privacy by Inclusion [1]on Seclusion is intended to
commit inclusion upon seclusion. Intrusion upon seclusion applies when someone intentionally
intrudes, physically or otherwise, upon the solitude or seclusion of another. Defendants Invasion
of Privacy by Inclusion on Seclusion was taking Mr. Davis data and programs and recondition
them to help Google to maintain a hack and sharing that information without permission from
Mr. Davis all intended to cause Mr. Davis harm resulted in damages and injury to Mr. Davis.

Therefore, defendant GOOGLE LLC and Shareholders is liable for inclusion upon seclusion.
Carpenter v. United States, 267 U. S. 132 landmark privacy decision.

108. Damages owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

109. Defendants GOOGLE LLC and Shareholders intended to commit intentionally.
Intentionally is done deliberately. Defendants GOOGLE LLC and Shareholders intentionally was
to deliberately help aid and abet Infragard to illegally share to monitor Mr. Davis information
and send that information to person all around the earth that was involved in this scheme and Mr.
Davis is just one of many and every time the agent get paid the whole time no matter its another
company or affiliate gets paid in the US and Overseas from data tracked on the Microsoft
Windows operating system. Therefore, defendants GOOGLE LLC and Shareholders is liable for

intentionally.

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110. Damages owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

111. Defendant GOOGLE LLC and Shareholders intended to commit intruding. Intruding is
the act of wrongfully entering upon, seizing, or taking possession of the property of another.
Defendants GOOGLE LLC and Shareholders intruding was GOOGLE LLC seizing Mr. Davis
information for ill gotten gain and using Mr. Davis instead of assisting him as a customer instead
treated him like a prisoner and intriding on his personal space and information resulted in
damages and Mr. Davis injury. Therefore, defendants GOOGLE LLC and Shareholders is liable

for intruding.

112. Damages owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

113. Defendants GOOGLE LLC and Shareholders intended to commit on the solitude or
seclusion of another person, or on their private affairs. On the solitude or seclusion of another
person, or on their private affairs is intrusion on a person private affair. Defendants Microsoft
Inc. and Shareholders on the solitude or seclusion of another person, or on their private affairs
was intrusion on using GOOGLE LLC browsers to intrude on Mr. Davis private affairs and
broadcast that to agents and agents spread it around town and the world everyone intrude on your
private matters resulted in injury and damage to Mr. Davis. Therefore, defendants GOOGLE

LLC and Shareholders is liable of on the solitude or seclusion of another person.

114. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damage -

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115. Defendants Microsoft Inc. and Shareholders intended to commit in a manner that
would be highly offensive to a reasonable person. In a manner that would be highly offensive to
a reasonable person is the test is whether an ordinary reasonable person would think that what
has happened is a breach of an individual's reasonable expectations of privacy. Defendants
GOOGLE LLC and Shareholders prudent person if known would not have been in agreement or
would think this behavior was acceptable at any level resulted in damages and injury to Mr.
Davis. Therefore, defendants GOOGLE and Shareholders is liable for in a manner that would be

highly offensive to a reasonable person.

116. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

117. Defendants Microsoft Inc. and Shareholders intended to commit damages
compensatory. Damages compensatory is compensatory damages are money awarded to a
plaintiff to compensate for damages, injury, or another incurred loss. Compensatory damages are
awarded in civil court cases where loss has occurred as a result of the negligence or unlawful
conduct of another party. Defendants GOGGLE LLC and Shareholders compensatory damages
was from the illegal and interfered with Mr. Davis privacy rights. Therefore, defendants

GOOGLE LLC and Shareholders is liable for damages compensatory.

118. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

TWENTIETH SEVENTH CAUSE OF ACTION

(False Imprisonment)

119. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

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120. Defendants Microsoft Inc. and Shareholders intended to commit false imprisonment.
See [1][2] False Imprisonment is a person commits false imprisonment when he commits an act
of restraint on another person which confines that person in a bounded area. Defendants
GOOGLE and Shareholders false imprisonment was holding Mr. Davis against his will within
the parameters of their program and controlling the out as a result Mr. Davis uses one of
GOOGLE software items resulted in damages and injury to Mr. Davis. Therefore, is liable of

false imprisonment.
[1] Herring v. Boyle 1 Cr. M. & R. 377, 149 Eng. Rep. 1126 (Ex. 1834)
[2] Hoffman v. Clinic Hospital, Inc., 213 N.C. 669, 197 S.E. 161 (1938).

121. Damages owe damages in an amount greater than 75,000 for plaintiff injury. Defendants

are liable for damages.

122. Defendants GOOGLE LLC and Shareholders intended to commit the illegal restraint of
a person. The illegal restraint of a person is The crime of unlawful restraint occurs whenever
someone illegally deprives others of their physical freedom. Unlawful restraint happens when
one person knowingly and intentionally restrains another person without that person's consent
and without legal justification. Defendant GOOGLE and Shareholders the illegal restraint of a
person was hopeless hold restrain of information and data and controlling the use of Mr.Davis
computer and software by GOOGLE programming into their servers and the workers working
remotely with Infragard to aid in Mr. Davis imprisonment resulted in damages and Mr. Davis
injury. Therefore, defendants GOOGLE and Shareholders is liable of the illegal restraint of a

person.

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123. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

124. Defendants GOOGLE LLC and Shareholders intended to commit by force or threat of
force. To commit by force or threat of force is something to do which causes another person to
act against a person's will. Defendants GOOGLE and Shareholders or threat of force was
Microsoft and its agents using information to intimidate force, bully and gaslight around the
clock for months and a year. Therefore, defendants is liable of to commit by force or threat of

force.

125. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

126. Defendants GOOGLE LLC and Shareholders intended to commit without the other
person's consent (or against their will). Without the other person's consent (or against their will)
is force restraint against a persons consent. Defendants without the other person’s consent ( or
against their will ) was the taking control of Mr. Davis computer and software without
permission and against Mr. Davis will resulted in injury and damages to Mr. Davis. Therefore,
defendants GOOGLE LLC and Shareholders is liable of without the other person’s consent ( or

against their will).

127. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

128. Defendants GOOGLE LLC and Shareholders intended to commit proximate cause.
Proximate cause is an event sufficiently related to an injury that the courts deem the event to be
the cause of that injury. Cause-in-fact is determined by the "but for" test: But for the action, the

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result would not have happened resulted in damages and injury to Mr. Davis. Defendants
proximate cause was applying tracer onto Mr.Davis Ip address this address id you on the internet
and GOOGLE allow other parties to access that but for GOOGLE doing so resulted in damages
and injury to Mr. Davis. Therefore, defendants GOOGLE and Shareholders is liable of

proximate cause.

129. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

130. Defendants GOOGLE LLC and Shareholders intended to commit reasonable person.
Reasonable person is a test that asks whether the decisions made were legitimate and designed to
remedy a certain issue under the circumstances at the time. Courts using this standard look at
both the ultimate decision, and the process by which a party went about making that decision.
Defendant Microsoft Inc. and Shareholders reasonable person was no reasonable person would
attempt to restrain a person via GPS tracking device against their will resulted in injury and
damages to Mr. Davis. Therefore, defendants Microsoft Inc. and Shareholders is liable for

reasonable person.

131. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

TWENTIETH EIGHTH CAUSE OF ACTION

(Intentional Infliction of Emotional Distress)

132. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

133. Defendants Microsoft Inc. and Shareholders intended to commit intentional infliction of

Emotional Distress. Intentional Infliction of Emotional Distress is a common law tort that allows

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individuals to recover for severe emotional distress caused by another individual who
intentionally or recklessly inflicted emotional distress by behaving in an "extreme and
outrageous" way. Defendants GOOGLE LLC and Shareholders was the blatant disregard of Mr.
Davis rights to privacy while using the Google Browers it was used as spy equipment and
tracking equipment was installed to track and view record and produce live feed remotely and in
the US and around the world up until now resulted in damages and injury to Mr. Davis.
Therefore, defendants GOOGLE LLC and Shareholders is liable of intentional infliction of

emotional distress.

134. Defendants owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

135. Defendants GOOGLE LLC and Shareholders intended to commit the defendant must act
intentionally or recklessly. The defendant must act intentionally or recklessly is the state of mind
where a person deliberately and unjustifiably pursues a course of action while consciously
disregarding any risks flowing from such action. Defendants GOOGLE LLC and Shareholders
the defendant acted with all intentions to be recklessly towards Mr. Davis by help in his
imprisonment and harassment in a control environment rather on the computer or in his vehicle
and on the cellphone ultimately to receive the illegal kickback money and was intended to be
reckless towards Mr. Davis at level to get paid resulted in damages and injury to Mr. Davis.
Therefore, defendants GOOGLE and Shareholders is liable of the defendant must act

intentionally or recklessly.

136. Defendant owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

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137. Defendants GOOGLE LLC and Shareholders intended to commit the defendant’s
conduct must be extreme and outrageous. The defendant’s conduct must be extreme and
outrageous is as intentionally or recklessly causing another person severe emotional distress
through extreme or outrageous acts. This can be a result of either the Defendant's acts or words.
Defendants GOOGLE LLC and Shareholders the defendant’s conduct must be extreme and
outrageous was acts to control movement and take information and share it to complete that task
on a daily basics for a year damages and injury to Mr. Davis. Therefore, defendants GOOGLE

LLC is liable of the defendant’s conduct must be extreme and outrageous.

138. Defendant owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

139. Defendants GOOGLE LLC and Shareholders intended to commit the conduct must be
the cause. The conduct must be the cause is connection between his or her conduct and the
injury to the plaintiff. Defendants GOOGLE LLC and Shareholders conduct was the proximate
cause of Mr. Davis injury by their relentless online harassment. Therefore, defendants GOOGLE

LLC and Shareholders is liable of the conduct must be the cause.

140. Defendant owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

141. Defendants GOOGLE LLC and Shareholders intended to commit of severe emotional
distress. Of severe emotional distress is occurs when one acts abominably or outrageously with
intent to cause another to suffer severe emotional distress, such as issuing the threat of future
harm. Defendants the whole aim of GOOGLE LLC used subliminal mind control and spay ware

for ultimate control of not just body but your mind and aid and abet the Infragard to regulate Mr.

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Davis everywhere he go where persons attack and picked on and gave a hard time even called
racist slurs from complete strangers this strangers was strategically waiting on Mr. Davis to
gaslight him publicly resulted injury and damages to Mr. Davis. Therefore, defendant

GOOGLE LLC and Shareholders is liable of of severe emotion.

142. Defendant owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

TWENTIETH NINTH CAUSE OF ACTION
( Assault and battery)

Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

143. Defendants GOOGLE LLC and Shareholders intended to commit assault. Assault and
battery is a threat or physical act that creates a reasonable apprehension of imminent harmful or
offensive contact with one’s person involving an additional, aggravating factor, such as the intent
to inflict serious bodily injury or the use of a dangerous weapon. Defendants GOOGLE LLC
and Shareholders assault and battery was extreme harassing behaviors via attaching a tracker
onto his browers using GOOGLE browser as a psychological weapon and virtural prison guard
resulted in damages and injury to Mr. Davis. Therefore defendants, GOOGLE LLC and

Shareholders is liable of aggravated assault.

144. Defendant owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

145. Defendants GOOGLE LLC and Shareholders intended to commit an act by a defendant.
An act by a defendant is the defendant acts. The defendant intends to cause the victim to

apprehend imminent harmful contact from the defendant. The defendant's action causes the

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victim to reasonably apprehend such a contact. Defendants was the relentless harassment by
many person in different towns and cities that knew where and who I was tracking his location
via its Google Maps and the browser and other affiliated programs associated with GOOGLE
LLC including correlation with Microsoft giving away my IP address and information in order
for them to join in and get paid to harass Mr. Davis without worry or retaliation resulting in
damages and injury to Mr. Davis. Therefore, GOOGLE and Shareholders is liable of an act by a

defendant.

146. Defendant owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

147. Defendants GOOGLE LLC and Shareholders intended to commit an intent to cause
harmful or offensive contact on the part of the defendant. An intent to cause harmful or
offensive contact on the part of the defendant is At common law, an intentional unpermitted act
causing harmful or offensive contact with the "person" of another. Defendants GOOGLE LLC
and Shareholders an intent to cause harmful or offensive contact on the part of the defendant was
the harmful contact of Mr. Davis and harass involving possible millions of persons in his
business to harass him every waking moment every place or town he visited persons are
affiliated with this program of the FBI and a community base program called Infragrad and this
program was involved in illegal kickbacks involving local business to initiate this large
harassment programs of control resulted in injury and damages to Mr. Davis. Therefore,
defendants GOOGLE LLC and Shareholders is liable of an intent to cause harmful or offensive

contact on the part of the defendant.

148. Defendant owe damages in an amount greater than 75,000 for plaintiff injury.

Defendants are liable for damages.

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149. Defendants GOOGLE LLC and Shareholders intended to commit harmful or offensive
contact to the victim. Harmful or offensive contact to the victim is at common law, an
intentional unpermitted act causing harmful or offensive contact with the "person" of another.
Battery is concerned with the right to have one’s body left alone by others. Battery is both a tort
and acrime. Defendants GOOGLE LLC and Shareholders harmful or offensive contact to the
victim was GOOGLE formulated attacks resulted in harassment and abuse resulting to in injury
and Mr. Davis injury. Therefore, defendants Microsoft Inc. and Shareholders is liable of harmful

or offensive contact to the victim.

150. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

151. Defendants GOOGLE LLC and Shareholders intended to commit proximate cause.
Proximate cause is the likelihood of calling something a proximate cause increases as the cause
becomes more direct and more necessary for the injury to occur. Defendants GOOGLE LLC and
Shareholders proximate cause was the coordinated harassment campaigns with business and
persons including government agents for control and isolation purposes resulted in damages and

Mr. Davis injury. Therefore, defendants GOOGLE LLC and Shareholders is liable of proximate

cause.

152. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

THIRTIETH CAUSE OF ACTION

(Joint and Severally)

153. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

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154. Defendants Microsoft Inc. and Shareholders owe damages in an amount that exceeds
75,000 for plaintiff injury. Defendants are liable for damages. Joint and Severally is The term
jointly and severally indicates that all parties are equally responsible for carrying out the full
terms of an agreement. In a personal liability case, for example, each party named may be
pursued for repayment of the entire amount due. Defendant GOOGLE LLC and Shareholders is
still liable and accountable if by any chance a shareholder cannot pay. Therefore defendant,

GOOGLE LLC and Shareholders is liable of joint and severally.

155. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages,

THIRTIETH FIRST CAUSE OF ACTION
(Enterprise Liability)

156. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

157. Defendants GOOGLE LLC and Shareholders intended to commit Enterprise Liability.
Enterprise liability is a legal doctrine under which individual entities (for example, otherwise
legally unrelated corporations or people) can be held jointly liable for some action on the basis of
being part of a shared enterprise. Enterprise liability is a form of secondary liability. Defendant
GOOGLE LLC and Shareholders is responsible for the harassment and joining other companies
to do otherwise in large cartel enterprise resulted in Mr. Davis injury. Therefore defendant,

GOOGLE LLC and Shareholders is liable of enterprise liability.

158. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

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159. Defendants GOOGLE and Shareholders intended to commit the plaintiff must show that
he was injured by a product. The plaintiff must show that he was injured by a product is that the
product that the victim was using cause the injury. Defendant GOOGLE LLC and Shareholders
GOOGLE browers was used as a weapon instead of a helpful tool and the problem lays is when
the weapon or tool is pointed towards everyday Americans that is not doing or conducting any
terrorist activities only trying to be productive citizens being harras by persons who are using the
excuse to keep the money laundering scheme and kickback alive and continuous these persons
make a living of this type of behavior send kids to school buy expensive cars and other things.
Therefore defendant, GOOGLE LLC and its Shareholders is liable of the plaintiff must show that

he was injuried by a product.

160. Defendants owe damages in an amount that exceeds 75,000 for plaintiff mjury.

Defendants are liable for damages.

161. Defendants GOOGLE LLC and Shareholders intended to commit that the injury occurred
because the product was defective. The injury occurred because the product was defective is that
the abnormal product cause injury due to it being out of specifications than a normal product
would be. Defendants GOOGLE LLC and Shareholders induce the defectiveness of its own
product intentionally to cause harm and bullying to psychological break down Mr. Davis and .
was proven effective resulted in damages and injury to Mr. Davis. Therefore defendant,
GOOGLE LLC and Shareholders is liable of the injury occurred because the product was

defective.

162. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

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163. Defendants GOOGLE LLC and Shareholders intended to commit that the defect existed
at the time the product left the defendant's hands. The defect existed at the time the product left
the defendant’s hands is that soon as left the defendant hands and the defendant miss the defect.
Defendant GOOGLE LLC and Shareholders the defect existed at the time the product left the
defendant’s hands was the defect of the Google browser and the Google Maps was defective
rather intentional or accidental to track and share information of Mr. Davis coordinates to
persons of non profit Infragard and share that information in regards to Mr. Davis whereabouts.
Therefore, defendant GOOGLE LLC and Shareholders is liable of the defect existed at the time

the product left the defendant’s hands.

164. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

THIRTIETH SECOND CAUSE OF ACTION
(Sarbanes Oxley Act (SOX)
(18 U.S.C. §1514A)
165. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

166. Defendants GOOGLE LLC and Shareholders intended to commit Sarbanes Oxley Act
(SOX). Sarbanes Oxley Act (SOX) is The Sarbanes-Oxley Act of 2002 is a law the U.S.

Congress passed on July 30 of that year to help protect investors from fraudulent financial

reporting by corporations See[1]

And including:

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§1514A. Civil action to protect against retaliation in fraud cases

(a) Whistleblower protection for employees of publicly traded companies.--No company
with a class of securities registered under section 12 of the Securities Exchange Act of 1934 (15
U.S.C. 781), or that is required to file reports under section 15(d) of the Securities Exchange Act
of 1934 (15 U.S.C. 780(d)) including any subsidiary or affiliate whose financial information is
included in the consolidated financial statements of such company, or nationally recognized
statistical rating organization (as defined in section 3(a) of the Securities Exchange Act of 1934
(15 U.S.C. 78c), or any officer, employee, contractor, subcontractor, or agent of such company
or nationally recognized statistical rating organization, may discharge, demote, suspend,
threaten, harass, or in any other manner discriminate against an employee in the terms and

conditions of employment because of any lawful act done by the employee--

(1) to provide information, cause information to be provided, or otherwise assist in an
investigation regarding any conduct which the employee reasonably believes constitutes a
violation of section 1341, 1343, 1344, or 1348, any rule or regulation of the Securities and
Exchange Commission, or any provision of Federal law relating to fraud against shareholders,

when the information or assistance is provided to or the investigation is conducted by--
(A) a Federal regulatory or law enforcement agency;
(B) any Member of Congress or any committee of Congress; or

(C) a person with supervisory authority over the employee (or such other person working

for the employer who has the authority to investigate, discover, or terminate misconduct); or

(2) to file, cause to be filed, testify, participate in, or otherwise assist in a proceeding filed
or about to be filed (with any knowledge of the employer) relating to an alleged violation of

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section 1341, 1343, 1344, or 1348, any rule or regulation of the Securities and Exchange

Commission, or any provision of Federal law relating to fraud against shareholders.
(b) Enforcement action.--

(1) In general.--A person who alleges discharge or other discrimination by any person in

violation of subsection (a) may seek relief under subsection (c), by--
(A) filing a complaint with the Secretary of Labor; or

(B) if the Secretary has not issued a final decision within 180 days of the filing of the
complaint and there is no showing that such delay is due to the bad faith of the claimant,
bringing an action at law or equity for de novo review in the appropriate district court of the
United States, which shall have jurisdiction over such an action without regard to the amount in

controversy.
(2) Procedure.--

(A) In general.--An action under paragraph (1)(A) shall be governed under the rules and

procedures set forth in section 42121(b) of title 49, United States Code.

(B) Exception.--Notification made under section 42121(b)(1) of title 49, United States

Code, shall be made to the person named in the complaint and to the employer.

(C) Burdens of proof.--An action brought under paragraph (1)(B) shall be governed by

the legal burdens of proof set forth in section 42121(b) of title 49, United States Code.

(D) Statute of limitations.--An action under paragraph (1) shall be commenced not later
than 180 days after the date on which the violation occurs, or after the date on which the

employee became aware of the violation.

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(E) Jury trial.--A party to an action brought under paragraph (1)(B) shall be entitled to

trial by jury.
(c) Remedies.--

(1) In general.--An employee prevailing in any action under subsection (b)(1) shall be

entitled to all relief necessary to make the employee whole.

(2) Compensatory damages.--Relief for any action under paragraph (1) shall include--

(A) reinstatement with the same seniority status that the employee would have had, but

for the discrimination;
(B) the amount of back pay, with interest; and

(C) compensation for any special damages sustained as a result of the discrimination,

including litigation costs, expert witness fees, and reasonable attorney fees.

(d) Rights retained by employee.--Nothing in this section shall be deemed to diminish the
rights, privileges, or remedies of any employee under any Federal or State law, or under any

collective bargaining agreement.

(e)No enforceability of certain provisions waiving rights and remedies or requiring

arbitration of disputes.--

(1) Waiver of rights and remedies.--The rights and remedies provided for in this section
may not be waived by any agreement, policy form, or condition of employment, including by a

predispute arbitration agreement.

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(2) Predispute arbitration agreements.--No predispute arbitration agreement shall be valid

or enforceable, if the agreement requires arbitration of a dispute arising under this section.

Defendants and Shareholders was a Sarbanes Oxley Act (SOX)
(18 U.S.C. §1514A) was using its Google browser as an shared spyware in which anything Mr.
Davis would input in the browser search engine display would by automatic send to agents in
state and around the world to keep up in real time what Mr. Davis was doing, attempting to do in
a minute by second detail which also used to track and pinpoint locations of Mr. Davis in
buildings on the street in stores via satellite then that is exchanged with the smart grid which has
the cameras the the lightbulbs used as cameras via the electric smart grid, light poles all is
coordinated with this browser with layer upon layer upon layer of security to envople around Mr.
Davis as if he is some kind of threat when he volunteered to join the military on his own and was
honorable discharged to be treated from fraudulent activities among other businesses
participating in a huge money laundering and kickback scheme that spans the globe and he needs
protection he is already receive push back from strongholds that do not agree with him letting
this be known. Therefore, defendants GOOGLE LLC and Shareholders are liable for violations

of the Sarbanes Oxley Act (SOX) (18 U.S.C. §1514A).

167. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

[1] SEC v. WorldCom Inc. 452 F. Supp. 2d 531 (S.D.N.Y. 2006)

THIRTIETH THIRD CAUSE OF ACTION

(Electronics Communications Privacy Act of 1986)
Wiretap Act 18 U.S. Code § 2511 - Interception and disclosure of wire, oral, or
electronic communications prohibited.

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168. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

169. Defendants GOOGLE LLC and Shareholders intended to commit Wiretap Act 18
U.S. Code § 2511. See [1 Interception and disclosure of wire, oral, or electronic communications
prohibited. Wiretap Act 18 U.S. Code § 2511 - Interception and disclosure of wire, oral, or

electronic communications prohibited is

(1) Except as otherwise specifically provided in this chapter any person who—

(a) intentionally intercepts, endeavors to intercept, or procures any other person to

intercept or endeavor to intercept, any wire, oral, or electronic communication;

(b) intentionally uses, endeavors to use, or procures any other person to use or endeavor

to use any electronic, mechanical, or other device to intercept any oral communication when—

(i) such device is affixed to, or otherwise transmits a signal through, a wire, cable, or

other like connection used in wire communication; or

(ii) such device transmits communications by radio, or interferes with the transmission of

such communication; or

(iii) such person knows, or has reason to know, that such device or any component

thereof has been sent through the mail or transported in interstate or foreign commerce; or

(iv) such use or endeavor to use (A) takes place on the premises of any business or other

commercial establishment the operations of which affect interstate or foreign commerce; or (B)

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obtains or is for the purpose of obtaining information relating to the operations of any business or

other commercial establishment the operations of which affect interstate or foreign commerce; or

(v) such person acts in the District of Columbia, the Commonwealth of Puerto Rico, or

any territory or possession of the United States;

(c) intentionally discloses, or endeavors to disclose, to any other person the contents of
any wire, oral, or electronic communication, knowing or having reason to know that the
information was obtained through the interception of a wire, oral, or electronic communication in

violation of this subsection;

(d) intentionally uses, or endeavors to use, the contents of any wire, oral, or electronic
communication, knowing or having reason to know that the information was obtained through

the interception of a wire, oral, or electronic communication in violation of this subsection; or

(e)

(i) intentionally discloses, or endeavors to disclose, to any other person the contents of
any wire, oral, or electronic communication, intercepted by means authorized by sections
2511(2)(a)(ii), 2511(2)(b)-(c), 2511(2)(e), 2516, and 2518 of this chapter, (11) knowing or having
reason to know that the information was obtained through the interception of such a
communication in connection with a criminal investigation, (iii) having obtained or received the
information in connection with a criminal investigation, and (iv) with intent to improperly

obstruct, impede, or interfere with a duly authorized criminal investigation,

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shall be punished as provided in subsection (4) or shall be subject to suit as provided in

subsection (5).
(2)

(a)

(i) It shall not be unlawful under this chapter for an operator of a switchboard, or an
officer, employee, or agent of a provider of wire or electronic communication service, whose
facilities are used in the transmission of a wire or electronic communication, to intercept,
disclose, or use that communication in the normal course of his employment while engaged in
any activity which is a necessary incident to the rendition of his service or to the protection of the
rights or property of the provider of that service, except that a provider of wire communication
service to the public shall not utilize service observing or random monitoring except for

mechanical or service quality control checks.

(ii) Notwithstanding any other law, providers of wire or electronic communication
service, their officers, employees, and agents, landlords, custodians, or other persons, are
authorized to provide information, facilities, or technical assistance to persons authorized by law
to intercept wire, oral, or electronic communications or to conduct electronic surveillance, as
defined in section 101 of the Foreign Intelligence Surveillance Act of 1978, if such provider, its
officers, employees, or agents, landlord, custodian, or other specified person, has been provided

with—

(A) a court order directing such assistance or a court order pursuant to section 704 of the

Foreign Intelligence Surveillance Act of 1978 signed by the authorizing judge, or

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(B) a certification in writing by a person specified in section 2518(7) of this title or the
Attorney General of the United States that no warrant or court order is required by law, that all

statutory requirements have been met, and that the specified assistance is required,

setting forth the period of time during which the provision of the information, facilities,
or technical assistance is authorized and specifying the information, facilities, or technical
assistance required. No provider of wire or electronic communication service, officer, employee,
or agent thereof, or landlord, custodian, or other specified person shall disclose the existence of
any interception or surveillance or the device used to accomplish the interception or surveillance
with respect to which the person has been furnished a court order or certification under this
chapter, except as may otherwise be required by legal process and then only after prior
notification to the Attorney General or to the principal prosecuting attorney of a State or any
political subdivision of a State, as may be appropriate. Any such disclosure, shall render such
person liable for the civil damages provided for in section 2520. No cause of action shall lie in
any court against any provider of wire or electronic communication service, its officers,
employees, or agents, landlord, custodian, or other specified person for providing information,
facilities, or assistance in accordance with the terms of a court order, statutory authorization, or

certification under this chapter.

(iii) If a certification under subparagraph (ii)(B) for assistance to obtain foreign
intelligence information is based on statutory authority, the certification shall identify the

specific statutory provision and shall certify that the statutory requirements have been met.

(b) It shall not be unlawful under this chapter for an officer, employee, or agent of the
Federal Communications Commission, in the normal course of his employment and in discharge

of the monitoring responsibilities exercised by the Commission in the enforcement of chapter 5

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of title 47 of the United States Code, to intercept a wire or electronic communication, or oral

communication transmitted by radio, or to disclose or use the information thereby obtained.

(c) It shall not be unlawful under this chapter for a person acting under color of law to
intercept a wire, oral, or electronic communication, where such person is a party to the
communication or one of the parties to the communication has given prior consent to such

interception.

(d) It shall not be unlawful under this chapter for a person not acting under color of law to
intercept a wire, oral, or electronic communication where such person is a party to the
communication or where one of the parties to the communication has given prior consent to such
interception unless such communication is intercepted for the purpose of committing any
criminal or tortious act in violation of the Constitution or laws of the United States or of any

State.

(e) Notwithstanding any other provision of this title or section 705 or 706 of the
Communications Act of 1934, it shall not be unlawful for an officer, employee, or agent of the
United States in the normal course of his official duty to conduct electronic surveillance, as
defined in section 101 of the Foreign Intelligence Surveillance Act of 1978, as authorized by that

Act.

(f) Nothing contained in this chapter or chapter 121 or 206 of this title, or section 705 of
the Communications Act of 1934, shall be deemed to affect the acquisition by the United States
Government of foreign intelligence information from international or foreign communications,
or foreign intelligence activities conducted in accordance with otherwise applicable Federal law

involving a foreign electronic communications system, utilizing a means other than electronic

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surveillance as defined in section 101 of the Foreign Intelligence Surveillance Act of 1978, and
procedures in this chapter or chapter 121 and the Foreign Intelligence Surveillance Act of 1978
shall be the exclusive means by which electronic surveillance, as defined in section 101 of such
Act, and the interception of domestic wire, oral, and electronic communications may be

conducted.
(g) It shall not be unlawful under this chapter or chapter 121 of this title for any person—

(i) to intercept or access an electronic communication made through an electronic
communication system that is configured so that such electronic communication is readily

accessible to the general public;
(ii) to intercept any radio communication which is transmitted—

(1) by any station for the use of the general public, or that relates to ships, aircraft,

vehicles, or persons in distress;

(II) by any governmental, law enforcement, civil defense, private land mobile, or public

safety communications system, including police and fire, readily accessible to the general public;

(III) by a station operating on an authorized frequency within the bands allocated to the

amateur, citizens band, or general mobile radio services; or
(IV) by any marine or aeronautical communications system;
(iii) to engage in any conduct which—
(LD) is prohibited by section 633 of the Communications Act of 1934; or

(IL) is excepted from the application of section 705(a) of the Communications Act of

1934 by section 705(b) of that Act;

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(iv) to intercept any wire or electronic communication the transmission of which is
causing harmful interference to any lawfully operating station or consumer electronic equipment,

to the extent necessary to identify the source of such interference; or

(v) for other users of the same frequency to intercept any radio communication made
through a system that utilizes frequencies monitored by individuals engaged in the provision or

the use of such system, if such communication is not scrambled or encrypted.
(h) It shall not be unlawful under this chapter—

(i) to use a pen register or a trap and trace device (as those terms are defined for the

purposes of chapter 206 (relating to pen registers and trap and trace devices) of this title); or

(ii) for a provider of electronic communication service to record the fact that a wire or
electronic communication was initiated or completed in order to protect such provider, another
provider furnishing service toward the completion of the wire or electronic communication, or a

user of that service, from fraudulent, unlawful or abusive use of such service.

(i) It shall not be unlawful under this chapter for a person acting under color of law to
intercept the wire or electronic communications of a computer trespasser transmitted to, through,

or from the protected computer, if—

(1) the owner or operator of the protected computer authorizes the interception of the

computer trespasser’s communications on the protected computer;
(IL) the person acting under color of law is lawfully engaged in an investigation;

(IIL) the person acting under color of law has reasonable grounds to believe that the

contents of the computer trespasser’s communications will be relevant to the investigation; and

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(IV) such interception does not acquire communications other than those transmitted to or

from the computer trespasser.

(j) It shall not be unlawful under this chapter for a provider of electronic communication
service to the public or remote computing service to intercept or disclose the contents of a wire
or electronic communication in response to an order from a foreign government that is subject to
an executive agreement that the Attorney General has determined and certified to Congress

satisfies section 2523.

(3)

(a) Except as provided in paragraph (b) of this subsection, a person or entity providing an
electronic communication service to the public shall not intentionally divulge the contents of any
communication (other than one to such person or entity, or an agent thereof) while in
transmission on that service to any person or entity other than an addressee or intended recipient

of such communication or an agent of such addressee or intended recipient.

(b) A person or entity providing electronic communication service to the public may

divulge the contents of any such communication—
(i) as otherwise authorized in section 251 1(2)(a) or 2517 of this title;

(ii) with the lawful consent of the originator or any addressee or intended recipient of

such communication;

(iii) to a person employed or authorized, or whose facilities are used, to forward such

communication to its destination; or

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(iv) which were inadvertently obtained by the service provider and which appear to

pertain to the commission of a crime, if such divulgence is made to a law enforcement agency.

(4)

(a) Except as provided in paragraph (b) of this subsection or in subsection (5), whoever
violates subsection (1) of this section shall be fined under this title or imprisoned not more than

five years, or both.

(b) Conduct otherwise an offense under this subsection that consists of or relates to the
interception of a satellite transmission that is not encrypted or scrambled and that is

transmitted —
(i) to a broadcasting station for purposes of retransmission to the general public; or

(ii) as an audio subcarrier intended for redistribution to facilities open to the public, but

not including data transmissions or telephone calls,

is not an offense under this subsection unless the conduct is for the purposes of direct or

indirect commercial advantage or private financial gain.

(5)
(a)(i) If the communication is—

(A) a private satellite video communication that is not scrambled or encrypted and the
conduct in violation of this chapter is the private viewing of that communication and is not for a
tortious or illegal purpose or for purposes of direct or indirect commercial advantage or private

commercial gain; or

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(B) a radio communication that is transmitted on frequencies allocated under subpart D of
part 74 of the rules of the Federal Communications Commission that is not scrambled or
encrypted and the conduct in violation of this chapter is not for a tortious or illegal purpose or for

purposes of direct or indirect commercial advantage or private commercial gain,

then the person who engages in such conduct shall be subject to suit by the Federal

Government in a court of competent jurisdiction.
(ii) In an action under this subsection—

(A) if the violation of this chapter is a first offense for the person under paragraph (a) of
subsection (4) and such person has not been found liable in a civil action under section 2520 of

this title, the Federal Government shall be entitled to appropriate injunctive relief; and

(B) if the violation of this chapter is a second or subsequent offense under paragraph (a)
of subsection (4) or such person has been found liable in any prior civil action under section

2520, the person shall be subject to a mandatory $500 civil fine.

(b) The court may use any means within its authority to enforce an injunction issued
under paragraph (ii)(A), and shall impose a civil fine of not less than $500 for each violation of
such an injunction. Defendants GOOGLE LLC and Shareholders Wiretap Act 18 U.S. Code §
2511 - Interception and disclosure of wire, oral, or electronic communications prohibited was
performed by GOOGLE LLC and Shareholders aiding government entities Infragard in an
illegal investigation exceeding access illegally giving Mr. Davis information away without
persons being under the color of law or a warrant over wire, wireless, cloud, satellite

communications resulting in Mr. Davis injury. Therefore, defendant GOOGLE LLC and

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Shareholders is liable of Wiretap Act 18 U.S. Code § 2511 - Interception and disclosure of wire,

oral, or electronic communications prohibited.
[1] Katz v. United States 389 US 347 (1987)

170. Damages owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are

liable for damages.

THIRTIETH FOURTH CAUSE OF ACTION
(Treason U. S. C. 2381)

171. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

172. Defendants Microsoft Inc. and Shareholders intended to commit treason. Treason is
Whoever, owing allegiance to the United States, levies war against them or adheres to their
enemies, giving them aid and comfort within the United States or elsewhere, is guilty of treason
and shall suffer death, or shall be imprisoned not less than five years and fined under this title but
not less than $10,000; and shall be incapable of holding any office under the United States.
Defendants GOOGLE LLC and Shareholders treasons was their actions and collusions with
other businesses and other persons in the United States in the theft, money laundering is a crime
against the United States its citizens and against Mr. Davis resulted in damage and injury to Mr.

Davis. Therefore, defendant GOOGLE LLC and Shareholders is liable for treason.

173. | Damages owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are

liable for damages.

THIRTIETH FIFTH CAUSE OF ACTION

( Acts of Terrorism Transcending National Boundaries)
(18 U.S. C. Code 2332b)
174. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

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175. Defendants GOOGLE LLC and Shareholders intended to commit Acts of Terrorism

Transcending National Boundaries is: (a) Prohibited Acts.—

(1) Offenses.—Whoever, involving conduct transcending national boundaries and in a

circumstance described in subsection (b)—

(A) kills, kidnaps, maims, commits an assault resulting in serious bodily injury, or assaults with a

dangerous weapon any person within the United States; or

(B) creates a substantial risk of serious bodily injury to any other person by destroying or
damaging any structure, conveyance, or other real or personal property within the United States
or by attempting or conspiring to destroy or damage any structure, conveyance, or other real or

personal property within the United States;

in violation of the laws of any State, or the United States, shall be punished as prescribed in

subsection (c).
(2) Treatment of threats, attempts and conspiracies.—

Whoever threatens to commit an offense under paragraph (1), or attempts or conspires to do so,

shall be punished under subsection (c).
(b) Jurisdictional Bases —
(1) Circumstances.—The circumstances referred to in subsection (a) are—

(A) the mail or any facility of interstate or foreign commerce is used in furtherance of the

offense;

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(B) the offense obstructs, delays, or affects interstate or foreign commerce, or would have so
obstructed, delayed, or affected interstate or foreign commerce if the offense had been

consummated;

(C) the victim, or intended victim, is the United States Government, a member of the uniformed
services, or any official, officer, employee, or agent of the legislative, executive, or judicial

branches, or of any department or agency, of the United States;

(D) the structure, conveyance, or other real or personal property is, in whole or in part, owned,

possessed, or leased to the United States, or any department or agency of the United States;

(E) the offense is committed in the territorial sea (including the airspace above and the seabed
and subsoil below, and artificial islands and fixed structures erected thereon) of the United

States; or

(F) the offense is committed within the special maritime and territorial jurisdiction of the United

States.
(2) Co-conspirators and accessories after the fact —

Jurisdiction shall exist over all principals and co-conspirators of an offense under this section,
and accessories after the fact to any offense under this section, if at least one of the
circumstances described in subparagraphs (A) through (F) of paragraph (1) is applicable to at

least one offender.
(c) Penalties.—

(1) Penalties —Whoever violates this section shall be punished—

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(A) for a killing, or if death results to any person from any other conduct prohibited by this

section, by death, or by imprisonment for any term of years or for life;
(B) for kidnapping, by imprisonment for any term of years or for life;
(C) for maiming, by imprisonment for not more than 35 years;

(D) for assault with a dangerous weapon or assault resulting in serious bodily injury, by

imprisonment for not more than 30 years;

(E) for destroying or damaging any structure, conveyance, or other real or personal property, by

imprisonment for not more than 25 years;

(F) for attempting or conspiring to commit an offense, for any term of years up to the maximum

punishment that would have applied had the offense been completed; and

(G) for threatening to commit an offense under this section, by imprisonment for not more than

10 years.
(2) Consecutive sentence.—

Notwithstanding any other provision of law, the court shall not place on probation any person
convicted of a violation of this section; nor shall the term of imprisonment imposed under this

section run concurrently with any other term of imprisonment.

(d) Proof Requirements.—The following shall apply to prosecutions under this section:

(1) Knowledge.—

The prosecution is not required to prove knowledge by any defendant of a jurisdictional base

alleged in the indictment.

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(2) State law.—

In a prosecution under this section that is based upon the adoption of State law, only the elements
of the offense under State law, and not any provisions pertaining to criminal procedure or

evidence, are adopted.
(e) Extraterritorial Jurisdiction —There is extraterritorial Federal jurisdiction—

(1) over any offense under subsection (a), including any threat, attempt, or conspiracy to commit

such offense; and

(2) over conduct which, under section 3, renders any person an accessory after the fact to an

offense under subsection (a).
(f) Investigative Authority —

In addition to any other investigative authority with respect to violations of this title, the
Attorney General shall have primary investigative responsibility for all Federal crimes of
terrorism, and any violation of section 351(e), 844(e), 844(f(1), 956(b), 1361, 1366(b), 1366(c),
1751(e), 2152, or 2156 of this title, and the Secretary of the Treasury shall assist the Attorney
General at the request of the Attorney General. Nothing in this section shall be construed to

interfere with the authority of the United States Secret Service under section 3056.
(g) Definitions —As used in this section—

(1) the term “conduct transcending national boundaries” means conduct occurring outside of the

United States in addition to the conduct occurring in the United States,

(2) the term “facility of interstate or foreign commerce” has the meaning given that term in

section 1958(b)(2);

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(3) the term “serious bodily injury” has the meaning given that term in section 1365(g)(3); [1]

(4) the term “territorial sea of the United States” means all waters extending seaward to 12
nautical miles from the baselines of the United States, determined in accordance with

international law; and
(5) the term “Federal crime of terrorism” means an offense that—

(A) is calculated to influence or affect the conduct of government by intimidation or coercion, or

to retaliate against government conduct; and
(B) is a violation of—

(i) section 32 (relating to destruction of aircraft or aircraft facilities), 37 (relating to violence at
international airports), 81 (relating to arson within special maritime and territorial jurisdiction),
175 or 175b (relating to biological weapons), 175c (relating to variola virus), 229 (relating to
chemical weapons), subsection (a), (b), (c), or (d) of section 351 (relating to congressional,
cabinet, and Supreme Court assassination and kidnaping), 831 (relating to nuclear materials),
832 (relating to participation in nuclear and weapons of mass destruction threats to the United
States) [2] 842(m) or (n) (relating to plastic explosives), 844(f)(2) or (3) (relating to arson and
bombing of Government property risking or causing death), 844(i) (relating to arson and
bombing of property used in interstate commerce), 930(c) (relating to killing or attempted killing
during an attack on a Federal facility with a dangerous weapon), 956(a)(1) (relating to
conspiracy to murder, kidnap, or maim persons abroad), 1030(a)(1) (relating to protection of
computers), 1030(a)(5)(A) resulting in damage as defined in 1030(c)(4)(A)@)(D through (V 1H
(relating to protection of computers), 1114 (relating to killing or attempted killing of officers and
employees of the United States), 1116 (relating to murder or manslaughter of foreign officials,

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official guests, or internationally protected persons), 1203 (relating to hostage taking), 1361
(relating to government property or contracts), 1362 (relating to destruction of communication
lines, stations, or systems), 1363 (relating to injury to buildings or property within special
maritime and territorial jurisdiction of the United States), 1366(a) (relating to destruction of an
energy facility), 1751(a), (b), (c), or (d) (relating to Presidential and Presidential staff
assassination and kidnaping), 1992 (relating to terrorist attacks and other acts of violence against
railroad carriers and against mass transportation systems on land, on water, or through the air),
2155 (relating to destruction of national defense materials, premises, or utilities), 2156 (relating
to national defense material, premises, or utilities), 2280 (relating to violence against maritime
navigation), 2280a (relating to maritime safety), 2281 through 228 la (relating to violence against
maritime fixed platforms), 2332 (relating to certain homicides and other violence against United
States nationals occurring outside of the United States), 2332a (relating to use of weapons of
mass destruction), 2332b (relating to acts of terrorism transcending national boundaries), 2332f
(relating to bombing of public places and facilities), 2332g (relating to missile systems designed
to destroy aircraft), 2332h (relating to radiological dispersal devices), 23321 (relating to acts of
nuclear terrorism), 2339 (relating to harboring terrorists), 2339A (relating to providing material
support to terrorists), 2339B (relating to providing material support to terrorist organizations),
2339C (relating to financing of terrorism), 2339D (relating to military-type training from a

foreign terrorist organization), or 2340A (relating to torture) of this title;

(ii) sections 92 (relating to prohibitions governing atomic weapons) or 236 (relating to sabotage

of nuclear facilities or fuel) of the Atomic Energy Act of 1954 (42 U.S.C. 2122 or 2284);

(iii) section 46502 (relating to aircraft piracy), the second sentence of section 46504 (relating to

assault on a flight crew with a dangerous weapon), section 46505(b)(3) or (c) (relating to

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explosive or incendiary devices, or endangerment of human life by means of weapons, on
aircraft), section 46506 if homicide or attempted homicide is involved (relating to application of
certain criminal laws to acts on aircraft), or section 60123(b) (relating to destruction of interstate

gas or hazardous liquid pipeline facility) of title 49; or

(iv) section 1010A of the Controlled Substances Import and Export Act (relating to narco-

terrorism).

176. | Defendants GOOGLE LLC and Shareholders Acts of Terrorism Transcending National
Boundaries was the acts using their software as a weapon of imprisonment and control within the
United States and abroad in a domestic terrorism attack against the United States, American
citizens and Mr.Davis used as a scapegoat to hide their criminal activity is a crime against
society and Mr, Davis resulted in damages and injury. Therefore, defendants GOOGLE LLC

and Shareholders is liable of Acts of Terrorism Transcending National Boundaries.

177. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

THIRTIETH CAUSE OF ACTION

(Respondeat Superior)

178. Plaintiff reallege and incorporate by reference all of the preceding paragraphs.

179. Defendants GOOGLE LLC and Shareholders intended to commit Respondeat Superior.
Respondeat Superior is a legal doctrine, most commonly used in tort, that holds an employer or
principal legally responsible for the wrongful acts of an employee or agent, if such acts occur
within the scope of the employment or agency. Defendants Respondeat Superior was the

wrongful and intentional act of placing a tracking and listening device and live audio on devices

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using Microsoft Windows without notice resulted in damage and injury to Mr. Davis. Therefore,

defendants GOOGLE LLC. and Shareholders is liable of Respondeat Superior.

180. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

181. Defendants GOOGLE LLC. and Shareholders intended to commit the agent of the
corporation committed the crime. The agent of the corporation committed the crime is a
corporation to be found guilty of a crime, the crime has to been committed by an agent of the
company while acting on behalf of the company. Defendants GOOGLE LLC and Shareholders
the agent of the corporation committed the crime was all agents near and remotely was in on the
act working through the GOOGLE browser software linked to one another this involves
commercial airplanes , satellites communications and so high technology that move fast and far
and the agents of Microsoft utilized that even integrated their own systems to link up resulted in
damages and injury to Mr. Davis. Therefore, defendants GOOGLE and Shareholders is liable of

The agent of the corporation committed the crime.

182. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

183. Defendants GOOGLE LLC and Shareholders intended to commit while acting within
the scope of the agent’s authority. While acting within the scope of the agent’s authority is if an
agent acts within the scope of his/her authority, a principal is bound by the act of his/her agent.
Moreover, a principal is responsible for any action or inaction by the principal's agent.
Defendants GOOGLE and Shareholders while acting within the scope of the agent’s authority

was employees as a collective was aware of the car being compromised and agents of the who

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company was acting in the scope of their employment when the intentional breach occurred.
Therefore, GOOGLE LLC and Shareholders is liable of while acting within the scope of the

agent’s authority.

184. Defendants owe in an amount that exceeds 75,000 for plaintiff injury. Defendants are

liable for damages.

185. Defendants GOOGLE LLC and Shareholders intended to commit with an intent to
benefit the corporation. With an intent to benefit the corporation is he liability imposed upon a
corporation for any criminal act done by any natural person. Liability is tmposed so as to
regulate the acts of a corporation. The principle of corporate criminal liability is based on the
doctrine of respondent superior which is commonly known as the theory of vicarious liability,
where the master is made liable for the acts of his servant. Any corporation can be made liable
for act of its agent or servant. Defendants GOOGLE LLC and Shareholders with an intent to
benefit the corporation was receiving kickbacks not just a few employees the whole organization
benefited from the illegal money laundering scheme that span around the world via encrypted
satellite systems cellphones avionics it is huge and when one business get paid it goes to parents
and other subsidiaries within that same organization structure resulted in damages and Mr. Davis
injury. Therefore, defendant GOOGLE and Shareholders is liable of with an intent to benefit the

corporation.

186. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

187. Defendants GOOGLE LLC and Shareholders intended to commit duty. Duty is the

responsibility to others to act according to the law. Defendants GOOGLE LLC and

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Shareholders duty was to accommodate Mr. Davis per the terms of the agreement and the
agreement with to GOOGLE owed a duty to Mr. Davis intently break the law resulting damage
and injury to Mr. Davis. Therefore, defendants GOOGLE LLC and Shareholders is liable of

duty.

188. Defendant owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

189. Defendants GOOGLE LLC and Shareholders intended to commit proximate cause.
Proximate cause is an act from which an injury results as a natural, direct, uninterrupted
consequence and without which the injury would not have occurred. Defendants GOOGLE LLC
and Shareholders proximate cause was uninterrupted harassment, fraud, and unethical behavior
and discrimination and sharing Mr. Davis data intended to inflict harm and actions not in his
best interest from not allow Mr. the Davis the right to privacy resulted in damages and injury to
Mr. Davis. Therefore, defendants GOOGLE LLC and Shareholders is liable for proximate

causes.

190. Defendants owe damages in an amount that exceeds 75,000 for plaintiff injury.

Defendants are liable for damages.

191. Asaresult of Defendant, illegal actions the plaintiff suffered physical injuries, fear,

‘humiliation, anger, outrage, loss of sleep, PTSD, and other emotional and physical distress

192. By the conduct alleged above, Plaintiff was deprived of his constitutional rights and

due process to obstruction justice and deny equal due process under the law.

193. The acts alleged above were done intentionally, willfully, maliciously, wantonly with
reckless disregard for the safety of the Plaintiff.

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194. At times and dates indicated and herein alleged, each defendant had a duty to keep the

plaintiff secure from unlawful and assault, battery, false confinement, and false arrest.

195. Notwithstanding the duties owed to the Plaintiff, the Defendants failed to prevent the

wrongs complained of herein, in violation of 28 U.S.C. § 1331.

WHEREFORE, the Plaintiff prays this court:

A. For compensatory & punitive damages, injunctive relief, and in an amount

exceeding 1,200,000,000,000.00 dollars for the physical and emotional damage he has suffered.

B. For such other relief as law and equity allows, including costs and reasonable interim

and final attorney’s fees.
I declare under penalty of perjury that the foregoing tg true and correct.

DATED: 5/17/2021

Andre Antonio Davis, Plaintiff in Pro Per

DEMAND FOR JURY TRIAL

Pursuant to Rule 38 (b), the plaintiff demands trial by jury.

DATED: 5/17/2021

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Andre Antonio Davis, Plaintiff in Pro Per

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